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                       UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF LOUISIANA



UNITED STATES OF AMERICA,

          Plaintiff,

          and

LOUISIANA DEPARTMENT OF
ENVIRONMENTAL QUALITY,

          Plaintiff-Intervenor,

          v.                            Civil Action No. 09-100-JJB-RLB

LOUISIANA GENERATING LLC,


          Defendant.



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       WHEREAS,the United States of America("the United States"), on behalf of the United

States Environmental Protection Agency("EPA"), filed a complaint on February 11, 2009,

against Louisiana Generating LLC("Louisiana Generating" or "Settling Defendant")pursuant to

Sections 113(b) and 167 of the Clean Air Act("the Act"), 42 U.S.C. §§ 7413(b) and 7477,for

injunctive relief and the assessment of civil penalties for violations of the Prevention of

Significant Deterioration("PSD")provisions ofthe Act,42 U.S.C. §§ 7470-92; the federally

approved Louisiana PSD regulations ofthe Louisiana State Implementation Plan("SIP"); Title V

ofthe Act, 42 U.S.C. §§ 7661-7661f, and the federally approved Louisiana Title V program, or

any rule or permit issued thereunder("Title V");

       WHEREAS,the Louisiana Department of Environmental Quality("LDEQ")filed a

complaint on February 18, 2010, pursuant to Section 304 of the Act, 42 U.S.C. § 7604, alleging

the same violations as are alleged in the United States' complaint;

       WHEREAS,EPA issued notices of violation("NOVs")to Louisiana Generating with

respect to such allegations on February 15, 2005, and December 8, 2006;

       WHEREAS,in their complaints, the United States and LDEQ("Plaintiffs")allege, inter

alia, that Louisiana Generating is responsible for the modification and operation oftwo electric

generating units(Units 1 and 2) at the Big Cajun II Power Plant("Big Cajun II"), located near

New Roads, Louisiana, without necessary permits, and without installing and employing the best

available control technology(`BACT")to control emissions of nitrogen oxides("NOX")and/or

sulfur dioxide("S02")as the Act requires;




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       WHEREAS,the Settling Defendant denies that it is responsible for or committed

violations ofthe Clean Air Act or that the projects performed at Big Cajun II required a PSD

permit or the installation of BACT;

        WHEREAS,Plaintiffs' complaints alleges claims upon which relief can be granted

against the Settling Defendant under Sections 113, 167, and 304 of the Act, 42 U.S.C. §§ 7413,

7477, and 7604;

        WHEREAS,the United States provided the Settling Defendant and the State of Louisiana

with actual notice of alleged violations in accordance with Section 113(a)(1) of the Act, 42

U.S.C. § 7413(a)(1);

        WHEREAS,the United States, LDEQ,and the Settling Defendant("Parties")have

agreed that settlement of this action is in the best interest ofthe Parties and in the public interest,

and that entry of this Consent Decree without further litigation is the most appropriate means of

resolving this matter;

        WHEREAS,the Settling Defendant affirms that a portion ofthe emissions technology,

including related to PM emissions and refueling, under this consent decree, will allow it to

comply with the Mercury Air Toxics Rule, a change in environmental law promulgated after the

filing of the complaint;

        WHEREAS,the Parties recognize, and the Court by entering this Consent Decree finds,

that this Consent Decree has been negotiated in good faith and at arm's length and that this

Consent Decree is fair, reasonable, consistent with the goals of the Act, and in the public interest;

        WHEREAS,the Settling Defendant has cooperated in the resolution of this matter;




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        WHEREAS,the Settling Defendant maintains that it has been and remains in compliance

with the Act and is not liable for civil penalties or injunctive relief, and nothing herein shall

constitute an admission of liability; and

       WHEREAS,the Parties have consented to entry of this Consent Decree without trial of

any issues;

       NOW,THEREFORE, without any admission of fact or law, it is hereby ORDERED,

ADJUDGED, AND DECREED as follows:

                                I. JURISDICTION AND VENUE

    1. This Court has jurisdiction over this action, the subject matter herein, and the Parties

consenting hereto, pursuant to 28 U.S.C. §§ 1331, 1345, 1355, and 1367, and pursuant to

Sections 113 and 167 of the Act, 42 U.S.C. §§ 7413 and 7477. Venue is proper under Section

113(b) of the Act, 42 U.S.C. § 7413(b), and under 28 U.S.C. § 1391(b) and (c). The Settling

Defendant consents to and shall not challenge entry of this Consent Decree or this Court's

jurisdiction to enter and enforce this Consent Decree. Except as expressly provided for herein,

this Consent Decree shall not create any rights in any party other than the Parties to this Consent

Decree. Except as provided in Section XXV (Public Comment) of this Consent Decree, the

Parties consent to entry of this Consent Decree without further notice.

                                        II. APPLICABILITY

   2. Upon entry, the provisions of this Consent Decree shall apply to and be binding upon and

inure to the benefit of Plaintiffs and the Settling Defendant, and their successors and assigns, and

upon their officers, employees and agents solely in their capacities as such.




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   3. The Settling Defendant shall provide a copy ofthis Consent Decree to all vendors,

suppliers, consultants, contractors, agents, and any other company or other organization retained

to perform any of the work required by this Consent Decree. Notwithstanding any retention of

contractors, subcontractors, or agents to perform any work required under this Consent Decree,

the Settling Defendant shall be responsible for ensuring that all work is performed in accordance

with the requirements of this Consent Decree. In any action to enforce this Consent Decree, the

Settling Defendant shall not assert as a defense the failure oftheir officers, directors, employees,

servants, agents, or contractors to take actions necessary to comply with this Consent Decree,

unless the Settling Defendant establishes that such failure resulted from a Force Majeure Event,

as defined in Section XIV ofthis Consent Decree.

                                         III. DEFINITIONS

   4. Every term expressly defined by this Consent Decree shall have the meaning given to that

term by this Consent Decree and, except as otherwise provided in this Consent Decree, every

other term used in this Consent Decree that is also a term under the Act or the regulations

implementing the Act shall mean in this Consent Decree what such term means under the Act or

those implementing regulations.

   5. A "30-day Rolling Average Emission Rate" for a Unit means, and shall be expressed as,

alb/mmBTU rate calculated in accordance with the following procedure: first, sum the total

pounds ofthe pollutant in question emitted from the Unit during an Operating Day and the

previous twenty-nine(29) Operating Days; second, sum the total heat input to the Unit in

mmBTU during the Operating Day and during the previous twenty-nine (29) Operating Days;

and third, divide the total number of pounds of pollutants emitted during the thirty (30)



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Operating Days by the total heat input during the thirty (30) Operating Days. Anew 30-Day

Rolling Average Emission Rate shall be calculated for each new Operating Day. Each 30-Day

Rolling Average Emission Rate shall include all emissions that occur during all periods within

any Operating Day, including emissions from startup, shutdown, and Malfunction, except as

otherwise provided by Section XIV (Force Majeure).

   6. "Big Cajun II" means Units 1, 2 and 3 ofthe Big Cajun II Power Station located near

New Roads, Louisiana.

   7. "GEMS" or "Continuous Emission Monitoring System," means,for obligations involving

NOX and S02 under this Consent Decree, the devices defined in 40 C.F.R. § 72.2, and installed

and maintained as required by 40 C.F.R. Part 75.

   8. "Clean Air Act" or "Act" means the federal Clean Air Act,42 U.S.C. §§ 7401-7671q,

and its implementing regulations.

   9. "Consent Decree" means this Consent Decree.

    10. "Continuously Operate" or "Continuous Operation" means that when a Dry FGD,DSI,

SNCR,LNB,OFA,or ESP is used at a Unit, except during a Malfunction, such control shall be

operated at all times the Unit is in operation, consistent with the technological limitations,

manufacturers' specifications, and good engineering and maintenance practices for minimizing

emissions (as defined in 40 C.F.R. § 60.11(d)) for such equipment and the Unit.

    11."Date of Entry" means the date this Consent Decree is entered by the Court or a motion

to enter the Consent Decree is granted, whichever occurs first, as recorded on the Court's docket.

   12."Date of Lodging" means the date this Consent Decree is filed for lodging with the Clerk

of the Court for the United States District Court for the Middle District of Louisiana.



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   13."Day" means calendar day, unless otherwise specified.

   14. "Dry Flue Gas Desulfurization" or "Dry FGD" means an add-on air pollution control

system for the reduction of S02 located downstream of a boiler that sprays an alkaline sorbent

slurry in one or more absorber vessels designed to provide intimate contact between an alkaline

slurry and the flue gas stream to react with and remove S02from the exhaust stream forming a

dry powder material which is captured in a downstream particulate control device.

    15. "Dry Sorbent Injection" or "DSI" means a process in which a sorbent is injected into the

downstream boiler exhaust prior to the particulate air pollution control system.

    16. "Electrostatic Precipitator" or "ESP" means a device for removing particulate matter

from combustion gases by imparting an electric charge to the particles and then attracting them

to a metal plate or screen of opposite charge before the combustion gases are exhausted to the

atmosphere.

    17. "Emission Rate" for a given pollutant means the number of pounds of that pollutant

emitted per million British thermal units of heat input (lb/MMBtu), measured in accordance with

this Consent Decree.

    18."EPA" means the United States Environmental Protection Agency.

    19. "Fossil Fuel" means any hydrocarbon fuel, including coal, petroleum coke, petroleum

oil, or natural gas.

   20."lb/MMBtu" means one pound of a pollutant per million British thermal units of heat

input.

   21."Low NOX Burner" or "LNB" means commercially available combustion modification

technology that minimizes NOX formation by introducing coal and combusting air into a boiler
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such that initial combustion occurs in a manner that promotes rapid coal devolatilization in a

fuel-rich (i. , oxygen deficient) environment and introduces additional air to achieve a final fuel-
            e.
lean (i. , oxygen rich) environment to complete the combustion processes.
       e.
    22."LDEQ" means the Louisiana Department of Environmental Quality.

   23."Malfunction" means malfunction as that term is defined under 40 C.F.R. § 60.2.

   24."MW" means a megawatt or one million Watts.

   25."National Ambient Air Quality Standards" or "NAAQS" means national ambient air

quality standards promulgated pursuant to Section 109 of the Act, 42 U.S.C. § 7409.

   26."Natural Gas" means natural gas received directly or indirectly through a connection to

an interstate pipeline transporting natural gas governed by a tariff approved by the Federal

Energy Regulatory Commission. The Parties recognize that Natural Gas is expected to contain

no more than 0.5 grains of sulfur per 100 standard cubic feet of gas.

   27. "Nonattainment NSR" means the new source review program within the meaning of Part

D of Subchapter I ofthe Act, 42 U.S.C. §§ 7501-7515 and 40 C.F.R. Part 51, and corresponding

provisions ofthe federally enforceable Louisiana SIP.

   28."NOX" means oxides of nitrogen, measured in accordance with the provisions ofthis

Consent Decree.

   29."NOX Allowance" means an authorization to emit a specified amount of NOX that is

allocated or issued under an emissions trading or marketable permit program of any kind

established under the Clean Air Act or applicable State Implementation Plan; provided, however,

that with respect to any such program that first applies to emissions occurring after December 31,

2011, a "NOX Allowance" shall include an allowance created and allocated to Big Cajun II under



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such program only for compliance periods starting on or after the fourth anniversary of the date

as of which emissions are first subject to such program.

   30."Operating Day" means any calendar day on which a Unit fires fossil fuel.

   31."Over Fire Air" or "OFA" mean an in-furnace staged combustion control to reduce NOx

emissions.

   32."Ownership Interest" means part or all of Settling Defendant's legal or equitable

ownership interest in Big Cajun II.

   33. "Parties" means the United States, LDEQ,and the Settling Defendant. "Party" means

one ofthe named "Parties."

   34."Plant-Wide Annual Tonnage Limitation" means the limitation, as specified in this

Consent Decree, on the number of tons of pollutant(S02 or NOX)that may be emitted from the

respective facility during the relevant calendar year (i.e., January 1 through December 31), and

shall include all emissions ofthe specified pollutant that occur during all periods of operation,

including startup, shutdown, and Malfunction

   35. "PM" means total filterable particulate matter, measured in accordance with the

provisions of this Consent Decree.

   36."PM CEMS" or "PM Continuous Emission Monitoring System" means,for obligations

involving the monitoring ofPM emissions under this Consent Decree, the continuous emission

monitors installed and maintained as described in 40 C.F.R. § 63.10010 and 40 C.F.R. §

60.49Da(v).

   37. "Prevention of Significant Deterioration" or "PSD" means the prevention of significant

deterioration of air quality program under Part C of Subchapter I of the Clean Air Act, 42 U.S.C.
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§§ 7470 - 7492, and 40 C.F.R. Part 52, and corresponding provisions ofthe federally enforceable

Louisiana SIP.

    38. "Project Dollars" means Settling Defendant's expenditures and payments incurred or

made in carrying out the Environmental Mitigation Projects identified in Section VIII

(Environmental Mitigation Projects) of this Consent Decree to the extent that such expenditures

or payments both:(a) comply with the requirements set forth in Section VIII (Environmental

Mitigation Projects) and Appendix A of this Consent Decree, and(b) constitute Settling

Defendant's direct payments for such projects, or Settling Defendant's external costs for

contractors, vendors, and equipment.

    39."Refuel to Natural Gas" or "Refueled to Natural Gas" means, solely for purposes of this

Consent Decree, the modification of a unit such that the modified unit generates electricity solely

through the combustion of Natural Gas rather than coal, including installation ofthe following

combustion controls to reduce emissions of NOX: low- NOX natural gas burners, SNCR,and an

overfire air system. Nothing herein shall prevent the reuse of any equipment from Big Cajun II

Unit 2 at any other existing unit or new emissions unit, provided that Settling Defendant applies

for, and obtains, all required permits, including, if applicable, a PSD or Nonattainment NSR

permit.

   40."Repowers" or "Repowered" means, solely for purposes of this Consent Decree, the

removal and replacement of the Unit components such that the replaced unit generates electricity

solely through the combustion of Natural Gas rather than coal, through the use of a combined

cycle combustion turbine technology.
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   41. "Retire" means to permanently shut down a Unit such that the Unit cannot physically or

legally burn coal, and to comply with applicable state and federal requirements for permanently

ceasing operation of the Unit as a coal-fired electric generating Unit, including removing the

Unit from Louisiana's air emissions inventory, and withdrawing and/or amending all applicable

permits so as to reflect the permanent shutdown status of such Unit.

   42. "Retrofit" means that the Unit must install and Continuously Operate a Dry FGD or

equivalent pollution control technology approved in accordance with the requirements of

Paragraph 63 of this Consent Decree.

   43. "Selective Non-Catalytic Reduction" or "SNCR" means a pollution control device for the

reduction of NOX emissions that utilizes ammonia or urea injection into the boiler.

   44. "Settling Defendant" means Louisiana Generating LLC.

   45."SOZ" means sulfur dioxide, measured in accordance with the provisions of this Consent

Decree.

   46."SOZ Allowance" means an authorization to emit a specified amount of SOZ that is

allocated or issued under an emissions trading or marketable permit program of any kind

established under the Clean Air Act or applicable State Implementation Plan; provided, however,

that with respect to any such program that first applies to emissions occurring after December 31,

2011, an "SOZ Allowance" shall include an allowance created and allocated to Big Cajun II

under such program only for compliance periods starting on or after the fourth anniversary ofthe

date as of which emissions are first subject to such program.




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    47. "State Implementation Plan" or "SIP" means regulations and other materials promulgated

by a state for purposes of meeting the requirements of the Clean Air Act that have been approved

by EPA pursuant to Section 110 of the Act, 42 U.S.C. § 7410.

    48. "Surrender" means, with regard to SOZ and NOX Allowances, complying with the

procedures set forth herein for permanently surrendering Allowances from the accounts

administered by EPA and/or Louisiana, so that such Allowances can never be used to meet any

compliance requirement under the Clean Air Act or a State Implementation Plan.

   49. "Title V Permit" means the permit required for Big Cajun II under Subchapter V of the

Act, 42 U.S.C. §§ 7661-7661e.

   50."Unit" means, for the purposes ofthis Consent Decree, collectively, the coal crusher,

stationary equipment that feeds coal to the boiler, the boiler that produces steam for the steam

turbine, the steam turbine, the generator, the equipment necessary to operate the generator, steam

turbine and boiler, and all ancillary equipment, including pollution control equipment and

systems necessary for the production of electricity. An electric utility steam generating station

may comprise one or more Units.

                     IV. NOX EMISSION REDUCTIONS AND CONTROLS

   A. NOX Emission Limitations and Control Requirements

       1. Unit-Specific SNCR Installations and Performance Requirements

   51. Settling Defendant shall install and Continuously Operate SNCR technology at Big Cajun

II Unit 1, Unit 2, and Unit 3, by no later than the dates specified in the table below.

Commencing no later than 30 Operating Days thereafter, Settling Defendant shall Continuously

Operate such SNCR and existing LNB and OFA so that each Unit achieves and maintains a 30-



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Day Rolling Average Emission Rate for NOX of no greater than the following:(a)for Unit 1:

0.150 lb/mmBTU,(b)for Unit 2: 0.1501b/mmBTU,and (c)for Unit 3: 0.1351b/mmBTU.

 Units                                           Date of Continuous Operation

 SNCR at Unit 1                                  May 1, 2014

 SNCR at Unit 2                                  May 1, 2014

 SNCR at Unit 3                                  May 1, 2014



         B. Annual Tonnage Limitations for NOX Emissions

   52. During each calendar year specified in the table below and continuing thereafter, actual

total emissions of NOX from Big Cajun II shall not exceed the Plant-Wide Annual Tonnage

Limitations specified below:

 Calendar Year                                   Plant-Wide Annual Tonnage Limitations for

                                                 NOX

2013                                             12,600 tons

 2014                                            12,600 tons

 2015 and each year thereafter                   8,950 tons



         C. General NOX Provisions

   53. In determining emission rates for NOX, Settling Defendant shall use CEMS in accordance

with the reference methods specified in 40 C.F.R. Part 75.




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        D. Use and Surrender of NOX Allowances

    54. Except as may be necessary to comply with Section XIII (Stipulated Penalties), Settling

Defendant shall not use NOX Allowances to comply with any requirement ofthis Consent

Decree, including by claiming compliance with any emission limitation or the Plant-Wide

Annual Tonnage Limitation, by using, tendering, or otherwise applying NOX Allowances to

achieve compliance or offset any emissions above the limits specified in this Consent Decree.

   55. Except as provided in this Consent Decree, Settling Defendant shall not sell, trade, or

transfer any NOX Allowances allocated to Big Cajun II Units 1 or 2, or Settling Defendant's pro

rata ownership share (58%)of any NOX Allowances allocated to Big Cajun II Unit 3, that would

otherwise be available for sale, trade, or transfer as a result of the actions taken by Settling

Defendant to comply with the requirements of this Consent Decree.

   56. NOX Allowances allocated to Big Cajun II Units 1 or 2, or Settling Defendant's pro rata

ownership share(58%)of any NOX Allowances allocated to Big Cajun II Unit 3, may be used by

Settling Defendant only to meet its own federal and/or state Clean Air Act regulatory

requirements for Big Cajun II. Beginning in calendar year 2013, and continuing each calendar

year thereafter, Settling Defendant shall Surrender all NOX Allowances allocated to Settling

Defendant for Big Cajun II for that calendar year that Settling Defendant does not need in order

to meet its own federal and/or state Clean Air Act regulatory requirements for Big Cajun II.

   57. Nothing in this Consent Decree shall prevent Settling Defendant from purchasing or

otherwise obtaining NOX Allowances from another source for purposes of complying with state

or federal Clean Air Act requirements to the extent otherwise allowed by law.




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   58. The requirements in this Consent Decree pertaining to the Defendant's use of NOX

Allowances are permanent injunctions not subject to any termination provision ofthis Consent

Decree. These provisions shall survive any termination ofthis Consent Decree.

   E. Super-Compliant NOX Allowances

   59. Notwithstanding Paragraphs 55 and 56, nothing in this Consent Decree shall preclude

Settling Defendant from selling, banking, trading, or transferring NOx Allowances allocated to

Big Cajun II that become available solely as a result of:

       a.      the installation and operation of any NOX pollution control technology or

technique at Big Cajun II that is not otherwise required by this Consent Decree; or

       b.      achievement and maintenance of an Emission Rate below an applicable 30-Day

Rolling Average NOX Emission Rate,

provided that Settling Defendant also is in compliance for that calendar year with all emission

limitations for NOX set forth in this Consent Decree. Settling Defendant shall timely report the

generation of such super-compliant NOX Allowances in accordance with Section XI(Periodic

Reporting) of this Consent Decree.

       F.      Method for Surrender of NOX Allowances

   60. Settling Defendant shall Surrender all NOX Allowances required to be Surrendered

pursuant to Paragraph 56 by March 1 ofthe immediately following calendar year.

   61. For all NOX Allowances required to be Surrendered to EPA,the Settling Defendant shall

first submit a NOX Allowance transfer request form to EPA's Office of Air and Radiation's

Clean Air Markets Division directing the transfer of such NOX Allowances to the EPA

Enforcement Surrender Account or to any other EPA account that EPA may direct in writing.



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Such NOX Allowance transfer requests may be made in an electronic manner using the EPA's

Clean Air Markets Division Business System or similar system provided by EPA. As part of

submitting these transfer requests, the Settling Defendant shall irrevocably authorize the transfer

of these NOX Allowances and identify — by name of account and any applicable serial or other

identification numbers or station names —the source and location of the NOX Allowances being

Surrendered.

                   V. SOS EMISSION REDUCTIONS AND CONTROLS

       A. SOz Emission Limitations and Control Requirements

               1. Unit-Specific DSI Installation and Performance Requirements at Unit 1

   62. Settling Defendant shall install and Continuously Operate DSI at Big Cajun II Unit 1 by

no later than April 15, 2015. Commencing no later than thirty (30) Operating Days thereafter,

and continuing until Retirement, Refueling, Repowering, or Retrofit pursuant to the following

Paragraph 63, Settling Defendant shall Continuously Operate such DSI so that Unit 1 achieves

and maintains a 30-Day Rolling Average Emission Rate for S02 of no greater than 0.380

lb/mmBTU.

   63. Settling Defendant shall Retire, Refuel, Repower, or Retrofit Big Cajun II Unit 1 by no

later than April 1, 2025. No later than December 31, 2022, Settling Defendant shall elect in

writing to Plaintiffs which option -- Retire, Refuel, Repower, or Retrofit — it elects for Big Cajun

II Unit 1. If Settling Defendant Retrofits Big Cajun II Unit 1, then commencing no later than

thirty(30) Operating Days following March 30, 2025, Settling Defendant shall Continuously

Operate Dry FGD or an alternate equivalent pollution control technology approved by EPA

pursuant to Section XII(Review and Approval of Submittals) so that Unit 1 achieves and



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maintains a 30-Day Rolling Average Emission Rate for S02 of no greater than the lower of(a)

0.0701b/mmBTU,or(b)the average emission rate ofthe lowest three (3)BACT emission rates

listed in the EPA RACTBACT/LAER Clearinghouse(RBLC)(http://cfpub.epa.gov/RBLC)as

of January 1, 2021, for retrofit SOZ emission controls applied to any boiler burning sub-

bituminous coal and using Dry FGD or the same alternate pollution control technology approved

by EPA as contemplated in this Paragraph. This analysis shall be submitted to Plaintiffs on the

date Settling Defendant submits the permit application for the Dry FGD or the same alternate

pollution control technology approved by EPA as contemplated under this Paragraph or

December 31, 2022, whichever is sooner. If Settling Defendant Repowers Unit 1, Settling

Defendant shall apply for, and obtain, all required CAA permits)for the Repowered Unit 1,

including any appropriate PSD or NNSR permit.

               2. Refuel Unit 2

   64. Settling Defendant shall Refuel Big Cajun II Unit 2 by no later than April 15, 2015.

Settling Defendant shall apply for, and obtain, all required CAA permits)for the Refueled Unit

2, including any appropriate PSD or NNSR permit.

                 3. Other SOS Measures

   65. Commencing January 1, 2013, and continuing thereafter, Settling Defendant shall burn

only coal with no greater sulfur content than 0.45 percent by weight at Big Cajun II Units 1 and

3. The sulfur content shall be determined, and records shall be maintained, in accordance with

required procedures within Louisiana permits for Units 1 and 3.




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        B. Annual Tonnage Limits for SOZ Emissions

   66. During each calendar year specified in the table below and continuing thereafter, actual

total emissions of S02 from Big Cajun II shall not exceed the Plant-Wide Annual Tonnage

Limitation specified below:

 Calendar year                                   Plant-Wide Annual Tonnage Limitations for

                                                 SOZ

 2013                                            38,000 tons

 2014                                            38,000 tons

 2015                                            33,000 tons

 2016 and each year thereafter                    18,950 tons



        C. General S02 Provisions

   67. In determining Emission Rates for S02,the Settling Defendant shall use GEMS in

accordance with those reference methods specified in 40 C.F.R. Part 75.

        D. Use and Surrender of S02 Allowances

   68. Except as maybe necessary to comply with Section XIII (Stipulated Penalties), Settling

Defendant shall not use S02 Allowances to comply with any requirement ofthis Consent Decree,

including by claiming compliance with any emission limitation or the Plant-Wide Annual

Tonnage Limitation, by using, tendering, or otherwise applying SOZ Allowances to achieve

compliance or offset any emissions above the limits specified in this Consent Decree.

   69. Except as provided in this Consent Decree, Settling Defendant shall not sell, trade, or

transfer any S02 Allowances allocated to Big Cajun II Units 1 or 2, or Settling Defendant's pro



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rata ownership share(58%)of any S02 Allowances allocated to Big Cajun II Unit 3,that would

otherwise be available for sale, trade, or transfer as a result ofthe actions taken by Settling

Defendant to comply with the requirements ofthis Consent Decree.

   70. S02 Allowances allocated to Big Cajun II Units 1 or 2, or Settling Defendant's pro rata

ownership share(58%)of any SOZ Allowances allocated to Big Cajun II Unit 3, may be used by

Settling Defendant only to meet its own federal and/or state Clean Air Act regulatory

requirements for Big Cajun II. Beginning in calendar year 2013, and continuing each calendar

year thereafter, Settling Defendant shall Surrender all S02 Allowances allocated to Settling

Defendant for Big Cajun II for that calendar year that Settling Defendant does not need in order

to meet its own federal and/or state Clean Air Act regulatory requirements for Big Cajun II.

   71. Nothing in this Consent Decree shall prevent Settling Defendant from purchasing or

otherwise obtaining S02 Allowances from another source for purposes of complying with state

or federal Clean Air Act requirements to the extent otherwise allowed by law.

   72. The requirements in this Consent Decree pertaining to the Defendant's use of S02

Allowances are permanent injunctions not subject to any termination provision ofthis Consent

Decree. These provisions shall survive any termination ofthis Consent Decree.

       E.      Super-Comuliance SOS Allowances

    73. Notwithstanding Paragraphs 69 and 70, nothing in this Consent Decree shall preclude

Settling Defendant from selling, banking, trading, or transferring S02 Allowances allocated to

Big Cajun II that become available solely as a result of:

        a.     the installation and operation of any S02 pollution control technology or

technique at Big Cajun II that is not otherwise required by this Consent Decree; or



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       b.      achievement and maintenance of an Emission Rate below an applicable 30-Day

Rolling Average SOZ Emission Rate,

prodded that Settling Defendant is also in compliance for that calendar year with all emission

limitations for SOZ set forth in this Consent Decree. Settling Defendant shall timely report the

generation of such super-compliant SOZ Allowances in accordance with Section XI(Periodic

Reporting) ofthis Consent Decree.

               F.     Method for Surrender of S02 Allowances

   74. Settling Defendant shall Surrender all S02 Allowances required to be Surrendered

pursuant to Paragraph 70 by March 1 ofthe immediately following calendar year.

   75. For all S02 Allowances Surrendered to EPA,the Settling Defendant shall first submit an

S02 Allowance transfer request form to EPA's Office of Air and Radiation's Clean Air Markets

Division directing the transfer of such S02 Allowances to the EPA Enforcement Surrender

Account or to any other EPA account that EPA may direct in writing. Such SOZ Allowance

transfer requests may be made in an electronic manner using the EPA's Clean Air Markets

Division Business System or similar system provided by EPA. As part of submitting these

transfer requests, the Settling Defendant shall irrevocably authorize the transfer ofthese S02

Allowances and identify — by name of account and any applicable serial or other identification

numbers or station names —the source and location of the S02 Allowances being Surrendered.

                    VL PM EMISSION REDUCTIONS AND CONTROLS

       A. Operation and Maintenance ofPM Pollution Controls

   76. Beginning thirty (30)days after the Date of Entry ofthis Consent Decree, and continuing

thereafter, Settling Defendant shall Continuously Operate each ESP on Big Cajun II Units 1 and



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3, to maximize PM emission reductions at all times when the Unit each serves is in operation.

The Settling Defendant shall, at a minimum,to the extent reasonably practicable:(a)fully

energize each section of the ESP for each unit, and repair any failed ESP section at the next

planned Unit outage (or unplanned outage of sufficient length);(b) operate automatic control

systems on each ESP to maximize PM collection efficiency;(c) maintain power levels delivered

to the ESPs, consistent with manufacturers' specifications, the operational design of the Unit,

and good engineering practices; and (d)inspect for and repair during the next planned Unit

outage (or unplanned outage of sufficient length) any openings in ESP casings, ductwork, and

expansion joints to minimize air leakage.

       B.        PM Emission Rate and Testing

   77. Commencing on the Date of Entry and continuing thereafter, Settling Defendant shall

Continuously Operate ESPs at Big Cajun II Units 1 and 3. Commencing no later than the dates

specified in the table below, and continuing thereafter, Settling Defendant shall Continuously

Operate each such ESP so as to achieve and maintain a PM Emission Rate no greater than 0.030

lb/mmBTU:

 Big Cajun II Unit                                Date to Achieve and Maintain PM
                                                  Emission Rate
 ESP at Unit 1                                    April 15, 2015

 ESP at Unit 3                                    April 15, 2015



   78. Commencing in calendar year 2013, and continuing annually until the installation ofPM

CEMS at Unit 1 and 3 pursuant to Paragraph 83 herein or the Refueling at Unit 2, Settling

Defendant shall conduct a stack test for PM pursuant to Paragraph 79 for Big Cajun II Unit 1,



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Unit 2, and Unit 3. The annual performance test requirement imposed by this Paragraph may be

satisfied by stack tests conducted by Settling Defendant as may be required by its permits from

the State of Louisiana for any year that such stack tests are required under the permits.

   79. The reference methods and procedures for determining compliance with PM Emission

Rates shall be those specified in 40 C.F.R. Part 63, § 10010 or Part 60, Appendix A, Method 5,

SB, or 17, or an alternative method that is promulgated by EPA,requested for use herein by

Settling Defendant, and approved for use herein by EPA. Use of any particular method shall

conform to the EPA requirements specified in 40 C.F.R. Part 60, Appendix A and 40 C.F.R. §

60.48a(b)and (e), or any federally-approved method contained in the Louisiana State

Implementation Plan. If compliance is demonstrated with a stack test, Settling Defendant shall

calculate the PM Emission Rates from the stack test results in accordance with 40 C.F.R. §

60.80. The results of each PM stack test shall be submitted to Plaintiffs within forty-five (45)

days of completion of each test.

   80. Commencing in calendar year 2013, and continuing annually thereafter until the

installation ofPM CEMS at Unit 1 and 3 pursuant to Paragraph 83 herein or the Refueling at

Unit 2, Settling Defendant shall also conduct a PM stack test for condensable PM at each Big

Cajun II Unit using the reference methods and procedures set forth at 40 C.F.R. Part 51,

Appendix M,Method 202. Each test shall consist of three separate runs performed under

representative operating conditions not including periods of startup, shutdown, or Malfunction.

The sampling time for each run shall be at least 120 minutes and the volume of each run shall be

at least 1.70 dry standard cubic meters(60 dry standard cubic feet). Settling Defendant shall

calculate the number of pounds of condensable PM emitted per million BTU of heat input



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   86. Following the installation of each PM CEMS, Settling Defendant shall begin and

continue to report to Plaintiffs, pursuant to Section XI(Periodic Reporting), the data recorded by

the PM CEMS,as expressed in lb/mmBTU on a 3-hour rolling average basis in electronic format

or in a form required by 40 C.F.R. Part 63, including identification of each 3-hour average

exceedance of the applicable PM Emission Limitation.

       E.      General PM Provisions

   87. Data from the PM CEMS shall be used to determine compliance with the PM Emission

Rate established by this Consent Decree.

               VII. PROHIBITION ON NETTING CREDITS OR OFFSETS

   88. Emission reductions that result from actions to be taken by Settling Defendant after the

Date of Entry of this Consent Decree to comply with the requirements of this Consent Decree

shall not be considered as a creditable contemporaneous emission decrease for the purpose of

obtaining a Netting credit or offset under the Clean Air Act's Nonattainment NSR and PSD

programs.

   89. The limitations on the generation and use of netting credits or offsets set forth in the

previous Paragraph 88 do not apply to emission reductions achieved by Big Cajun II that are

greater than those required under this Consent Decree. For purposes of this Paragraph, emission

reductions from Big Cajun II are greater than those required under this Consent Decree if they

result from Settling Defendant's emission reductions that are greater than those limits imposed

on Big Cajun II under this Consent Decree and under applicable provisions ofthe Clean Air Act

or the Louisiana State Implementation Plan, and that are otherwise federally enforceable,

creditable and contemporaneous under the Clean Air Act and applicable regulations.



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    90. Nothing in this Consent Decree is intended to preclude the emission reductions

generated under this Consent Decree from being considered by the State of Louisiana or EPA as

creditable contemporaneous emission decreases for the purpose of attainment demonstrations

submitted pursuant to § 110 ofthe Act,42 U.S.C. § 7410, or in determining impacts on NAAQS,

PSD increment, or air quality related values, including visibility, in a Class I area.

                   VIII. ENVIRONMENTAL MITIGATION PROJECTS

   91. Settling Defendant shall implement the Environmental Mitigation Projects("Projects")

described in Appendix A to this Decree in compliance with the approved plans and schedules for

such Project and other terms ofthis Consent Decree. Settling Defendant shall submit plans for

the Projects to the Plaintiffs for review and approval pursuant to Section XII(Review and

Approval of Submittals) of this Consent Decree in accordance with the schedules set forth in

Appendix A. In implementing the Projects, Settling Defendant shall spend no less than

$10,500,000. Settling Defendant shall not include its own personnel costs in overseeing the

implementation ofthe Projects as Project Dollars.

   92. Settling Defendant shall maintain, and present to the Plaintiffs upon request, all

documents to substantiate the Project Dollars expended and shall provide these documents to the

Plaintiffs within thirty (30) days of a request by the Plaintiffs for the documents.

   93. All plans and reports prepared by Settling Defendant pursuant to the requirements ofthis

Section of the Consent Decree and required to be submitted to EPA shall be publicly available

from Settling Defendant without charge.

   94. Settling Defendant shall certify, as part of each plan submitted to the Plaintiffs for any

Project, that Settling Defendant is not otherwise required by law to perform the Project described



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the protocol, Settling Defendant shall thereafter operate each PM CEMS in accordance with the

approved protocol.

    83. No later than the dates specified below, Settling Defendant shall install, certify, and

operate PM CEMS on the stacks for Units 1 and 3 at Big Cajun II.

 Stack                                             Date to Start Operation PM GEMS

 Unit 1                                            April 15, 2015

 Unit 3                                             April 15, 2015



    84. No later than ninety(90) days after Settling Defendant begins operation ofthe PM

GEMS,the Settling Defendant shall demonstrate compliance with the PM CEMS installation and

certification plan submitted to and approved by EPA in accordance with Section XII(Review

and Approval of Submittals) and shall report such information to EPA and Louisiana DEQ no

later thirty (30) days after such tests.

          D.    PM Reporting

    85. Within one-hundred and eighty(180)days after each date established by this Consent

Decree for Settling Defendant to achieve and maintain a PM Emission Rate at Big Cajun II,

Settling Defendant shall demonstrate compliance with the PM Emission Rate required by this

Consent Decree by use ofPM CEMS emissions data or a performance test. If a performance test

is used to demonstrate compliance, Settling Defendant shall submit the results ofthe

performance test to Plaintiffs within forty-five(45) days of each such performance test at the

addresses specified in Section XIII(Notices) ofthis Consent Decree.




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(lb/mmBTU)form the stack test results in accordance with 40 C.F.R. § 60.80. The results of

 the PM stack test conducted pursuant to this Paragraph shall not be used for the purpose of

 determining compliance with the PM Emission Rates required by this Consent Decree. The

 results of each PM stack test shall be submitted to Plaintiffs within forty-five (45) days of

 completion of each test, where completion includes any required QA/QC by the testing

 company.

        C. Installation and Operation ofPM CEMS

    81. Settling Defendant shall install, calibrate, operate, and maintain PM CEMS,as specified

 below. Each PM CEMS shall comprise a continuous particle mass monitor measuring

 particulate matter concentration, directly or indirectly, on an hourly average basis and a diluent

 monitor used to convert the concentration to units of lb/mmBTU. Settling Defendant shall

 maintain, in an electronic database, the hourly average emission values produced by all PM

 CEMS in lb/mmBTU. Settling Defendant shall use reasonable efforts to keep each PM CEMS

running and producing data whenever any Unit served by the PM CEMS is operating.

    82. No later than April 15, 2014, Settling Defendant shall submit to EPA pursuant to Section

 XII(Review and Approval of Submittals) ofthis Consent Decree:(a)a plan for the installation

 and certification of each PM CEMS,and (b) a proposed Quality Assurance/Quality Control

("QA/QC")protocol that shall be followed in calibrating such PM CEMS. In developing both

the plan for installation and certification of the PM CEMS and the QA/QC protocol, Settling

Defendant shall use the criteria set forth in 40 C.F.R. Part 63 or in 40 C.F.R. Part 60, Appendix

B,Performance Specification 11, and Appendix F, Procedure 3. Following approval by EPA of




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in the plan, that Settling Defendant is unaware of any other person who is required by law to

perform the Project, and that Settling Defendant will not use any Project, or portion thereof, to

satisfy any obligations that it may have under other applicable requirements of law.

    95. Settling Defendant shall use good faith efforts to secure as much benefit as possible for

the Project Dollars expended, consistent with the applicable requirements and limits ofthis

Consent Decree.

    96. If Settling Defendant elects (where such an election is allowed)to undertake a Project by

contributing funds to another person or entity that will carry out the Project in lieu of Settling

Defendant, but not including Settling Defendant's agents or contractors, that person or

instrumentality must, in writing:(a)identify its legal authority for accepting such funding; and

(b)identify its legal authority to conduct the Project for which Settling Defendant contributes the

funds. Regardless of whether Settling Defendant elected (where such election is allowed)to

undertake a Project by itself or to do so by contributing funds to another person or

instrumentality that will carry out the Project, Settling Defendant acknowledges that it will

receive credit for the expenditure of such funds only if Settling Defendant demonstrates that the

funds have been actually spent by either Settling Defendant or by the person or instrumentality

receiving them, and that such expenditures met all requirements ofthis Consent Decree.

    97. Beginning six (6) months after entry ofthis Consent Decree, and continuing until

completion of each Project (including any applicable periods of demonstration or testing),

Settling Defendant shall provide the Plaintiffs with semi-annual updates concerning the progress

of each Project.




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   98. Within sixty (60) days following the completion of each Project required under this

Consent Decree (including any applicable periods of demonstration or testing), Settling

Defendant shall submit to the Plaintiffs a report that documents the date that the Project was

completed, Settling Defendant's results of implementing the Project, including the emission

reductions or other environmental benefits achieved, and the Project Dollars expended by

Settling Defendant in implementing the Project.

                                    IX. CIVIL PENALTY

   99. Within thirty(30)Days after the Date of Entry ofthis Consent Decree, Settling

Defendant shall pay to the United States and the State of Louisiana a civil penalty in the amount

of $3.5 million.

   (a) The United States' portion of the civil penalty shall be paid as follows: Within thirty (30)

       Days after the Date of Entry ofthis Consent Decree, Settling Defendant shall pay a civil

       penalty to the United States in the amount of $1.75 million paid by Electronic Funds

       Transfer("EFT")to the United States Department of Justice, in accordance with current

       EFT procedures, referencing USAO File Number 2009V00027 and DOJ Case Number

       90-5-2-1-08529 and the civil action case name and case number of this action. The costs

       of such EFT shall be Settling Defendant's responsibility. Payment shall be made in

       accordance with instructions provided to Settling Defendant by the Financial Litigation

       Unit of the U.S. Attorney's Office for the Middle District of Louisiana. Any funds

       received after 2:00 p.m. EDT shall be credited on the next business day. At the time of

       payment, Settling Defendant shall provide notice of payment, referencing the USAO File

       Number,the DOJ Case Number, and the civil action case name and case number, to the



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       Department of Justice and to EPA in accordance with Section XVIII(Notices) ofthis

       Consent Decree.

   (b) The LDEQ's portion of the civil penalty shall be paid as follows: Within thirty(30) Days

       after entry of this Consent Decree, Settling Defendant shall pay to LDEQ a civil penalty

       in the amount of $1.75 million by certified check made payable to the Louisiana

       Department of Environmental Quality and sent to Denise Stafford, Fiscal Director, Office

       of Management and Finance, LDEQ,P.O. Box 4303, Baton Rouge, Louisiana 70821-

       4303.

    100.       Failure to timely pay the civil penalty shall subject Settling Defendant to interest

accruing from the date payment is due until the date payment is made at the rate prescribed by 28

U.S.C. § 1961, and shall render Settling Defendant liable for all charges, costs, fees, and

penalties established by law for the benefit of a creditor or of the United States in securing

payment.

    101.        Payments made pursuant to this Section are penalties within the meaning of

Section 1620 of the Internal Revenue Code, 26 U.S.C. § 1620,and are not tax-deductible

expenditures for purposes of federal law.

           X. RESOLUTION OF CERTAIN CIVIL CLAIMS OF THE PLAINTIFFS

    102.       Entry ofthis Decree shall resolve all civil claims ofthe United States and LDEQ

against Settling Defendant that arose from any modifications commenced at Big Cajun II Units 1

and 2 prior to the Date of Lodging ofthis Consent Decree, including but not limited to those

modifications alleged in the Plaintiffs' Complaints in this civil action and in the NOVs issued to

Settling Defendant on February 15, 2005, and December 8, 2006, under any or all of:(a)Parts C



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or D of Subchapter I of the Clean Air Act, 42 U.S.C. §§ 7470-7492, 7501-7515;(b) Section 111

of the Clean Air Act,42 U.S.C. § 7411, and 40 C.F.R.§ 60.14;(c)the federally-approved and

enforceable Louisiana State Implementation Plan; or(d) Sections 502(a) and 504(a) of Title V of

the Clean Air Act,42 U.S.0 §§ 7611(a) and 7611(c), but only to the extent that such Title V

claims are based on Defendant's failure to obtain an operating permit that reflects applicable

requirements imposed under Parts C or D of Subchapter I, or Section 111 of the Clean Air Act.

                                   XI. PERIODIC REPORTING

    103.       Compliance Report. After entry of this Decree, Settling Defendant shall submit to

Plaintiffs a periodic report, within sixty (60)days after the end of each half ofthe calendar year

(January through June and July through December). The report shall include the following

information:

               a. all information necessary to determine compliance with the requirements of

this Consent Decree;

               b. all information relating to emission allowances and credits that Settling

Defendant claims to have generated in accordance with Sections IV.E and V.E through

compliance beyond the requirements ofthis Consent Decree;

               c. all information indicating that the installation and commencement of operation

for a pollution control device may be delayed, including the nature and cause of the delay, and

any steps taken by Settling Defendant to mitigate such delay; and

               d. all affirmative defenses asserted pursuant to Paragraphs 116 through 122 during

the period covered by the progress report.




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    104.       Deviations Report. In addition to the reports required by the previous Paragraph,

if Settling Defendant violates or deviates from any provision of this Consent Decree, Settling

Defendant shall submit to Plaintiffs a report on the violation or deviation within fourteen (14)

business days after Settling Defendant knew or should have known of the event. In the report,

Settling Defendant shall explain the cause or causes ofthe violation or deviation and any

measures taken or to be taken by Settling Defendant to cure the reported violation or deviation or

to prevent such violation or deviations in the future. If at any time, the provisions of the Decree

are included in Title V Permits, consistent with the requirements for such inclusion in the

Decree, then the deviation reports required under applicable Title V regulations shall be deemed

to satisfy all the requirements of this Paragraph.

    105.        Each Settling Defendant report shall be signed by Settling Defendant's

Environmental Manager or his or her equivalent, and shall contain the following certification:

   This information was prepared either by me or under my direction or supervision in
   accordance with a system designed to assure that qualified personnel properly gather and
   evaluate the information submitted. Based on my evaluation, or the direction and my inquiry
   ofthe persons) who manage the system, or the persons) directly responsible for gathering
   the information, I hereby certify under penalty of law that, to the best of my knowledge and
   belief, this information is true, accurate, and complete. I understand that there are significant
   penalties for submitting false, inaccurate, or incomplete information to the United States.

                    XII. REVIEW AND APPROVAL OF SUBMITTALS

    106.       Settling Defendant shall submit each plan, report, or other submission required by

this Decree to EPA whenever such a document is required to be submitted for review or approval

pursuant to this Consent Decree. EPA may approve the submittal or decline to approve it and

provide written comments explaining the bases for declining such approval. Within sixty (60)

days of receiving written comments from EPA, Settling Defendant shall either:(a)revise the



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submittal consistent with the written comments and provide the revised submittal to EPA; or(b)

submit the matter for dispute resolution, including the period of informal negotiations, under

Section XV (Dispute Resolution) of this Consent Decree.

    107.       Upon receipt of EPA's final approval ofthe submittal, or upon completion ofthe

submittal pursuant to dispute resolution, Settling Defendant shall implement the approved

submittal in accordance with the schedule specified therein or another EPA-approved schedule.

                              XIII. STIPULATED PENALTIES

    108.       For any failure by Settling Defendant to comply with the terms of this Consent

Decree, and subject to the provisions of Sections XIV (Force Majeure) and XV (Dispute

Resolution), Settling Defendant shall pay, within thirty(30) days after receipt of written demand

to Settling Defendant by the United States or the State of Louisiana, the following stipulated

penalties to the United States and the State of Louisiana:

Consent Decree Violation                                        Stipulated Penalty
a. Failure to pay the civil penalty as specified in Section     $10,000 per day
VIII (Civil Penalty) ofthis Consent Decree
b. Failure to comply with any applicable 30-Day Rolling
Average Emission Rate for NOX, where the violation is less      $2,500 per day per violation
than 5% in excess of the limits set forth in this Consent
Decree
c. Failure to comply with any applicable 30-Day Rolling
Average Emission Rate for NOX, where the violation is           $5,000 per day per violation
equal to or greater than 5%but less than 10% in excess of
the limits set forth in this Consent Decree
d. Failure to comply with any applicable 30-Day Rolling
Average Emission Rate for NOX, where the violation is           $10,000 per day per violation
equal to or greater than 10% in excess ofthe limits set forth
in this Consent Decree
e. Failure to comply with any applicable 30-Day Rolling         $2,500 per day per violation
Average Emission Rate for S02 where the violation is less
than 5% in excess ofthe limits set forth in this Consent
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f. Failure to comply with any applicable 30-Day Rolling           $5,000 per day per violation
Average Emission Rate for SOZ where the violation is equal
to or greater than 5%but less than 10% in excess of the
limits set forth in this Consent Decree
g. Failure to comply with any applicable 30-Day Rolling           $10,000 per day per violation
Average Emission Rate for SOZ where the violation is equal
to or greater than 10% in excess ofthe limits set forth in this
Consent Decree
h. Failure to comply with any applicable PM Emission              $2,500 per Operating Day per
Rate, where the violation is less than 5% in excess of the        violation
lb/mmBTU limit
i. Failure to comply with any applicable PM Emission Rate,        $5,000 per Operating Day per
where the violation is equal to or greater than 5%but less        violation
than 10% in excess of the lb/mmBTU limit
j. Failure to comply with any applicable PM Emission Rate,        $10,000 per Operating Day per
where the violation is equal to or greater than 10% in excess     violation
ofthe lb/mmBTU limit
k. Failure to Repower, Refuel, Retire, or Retrofit any Big        $10,000 per Day for the first 30
Cajun II as required by this Consent Decree                       Days, 37,500 per Day for each
                                                                  Day thereafter
1. Failure to comply with the Plant-Wide Annual Tonnage           $5,000 per ton for the first 100
Limitations for NOX                                               tons; $10,000 per ton for each
                                                                  additional ton over 100 tons,
                                                                  plus the Surrender, pursuant to
                                                                  the procedures set forth in
                                                                  Section IV.F, of NOX
                                                                  Allowances in an amount equal
                                                                  to two times the number of tons
                                                                  by which the limitation was
                                                                  exceeded
m. Failure to comply with the Plant-Wide Annual Tonnage           $5,000 per ton for the first 100
Limitations for SOZ                                               tons; $10,000 per ton for each
                                                                  additional ton over 100 tons,
                                                                  plus the Surrender, pursuant to
                                                                  the procedures set forth in
                                                                  Section V.F, of SOZ Allowances
                                                                  in an amount equal to two times
                                                                  the number oftons by which the
                                                                  limitation was exceeded
n. Failure to install, commence operation, or continue            $10,000 per day per violation
operation of the NOX, S02 or PM pollution control devices         during the first 30 days, $32,500
on any Unit as required under this Consent Decree                 per day per violation thereafter
o. Failure to conduct a stack test for PM and as required by      $1,000 per Day per violation
this Consent Decree

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p. Failure to install or operate CEMS as required in this        $1,000 per day per violation
Consent Decree
q. Failure to apply for any permit required by Section XVI       $1,000 per day per violation
(Permits)
r. Failure to timely submit, modify, or implement, as         $750 per day per violation
approved, the reports, plans, studies, analyses, protocols, orduring the first ten days, $1,000
other submittals required by this Consent Decree              per day per violation thereafter
s. Failure to Surrender NOX Allowances as required by this    (a)$32,500 per day plus(b)
Consent Decree                                                $7,500 per NOX Allowance not
                                                              Surrendered, and $5,000 per
                                                              allowance for each allowance
                                                              used, sold, or transferred in
                                                              violation of this Consent Decree
t. Selling, trading, or transferring NOX Allowances except as the Surrender of NOX
permitted by this Consent Decree.                             Allowances in an amount equal
                                                              to four times the number of NOX
                                                              Allowances used, sold, or
                                                              transferred in violation of this
                                                              Consent Decree
u. Failure to Surrender S02 Allowances as required by this (a)$32,500 per day plus(b)
Consent Decree                                                $1,000 per S02 Allowance not
                                                              Surrendered, and $5,000 per
                                                              allowance for each allowance
                                                              used, sold, or transferred in
                                                              violation ofthis Consent Decree
v. Selling, trading, or transferring S02 Allowances except as the Surrender of S02
permitted by this Consent Decree                              Allowances in an amount equal
                                                              to four times the number of S02
                                                              Allowances used, sold, or
                                                              transferred in violation of this
                                                              Consent Decree
w. Failure to demonstrate the third-party Surrender of an     $2,500 per day per violation
S02 Allowance in accordance with this Consent Decree
x. Failure to optimize the existing ESPs and baghouses as     $1,000 per Day per violation
required by this Consent Decree
y. Failure to undertake and complete the Environmental        $1,000 per day per violation
Mitigation Project in compliance with Section VIII            during the first 30 days, $5,000
(Environmental Mitigation Projects) of this Consent Decree per day per violation thereafter
z. Failure to comply with the sulfur content requirement      $10,000 per day.
required by this Consent Decree for Units 1 and 3.
aa. Any other violation ofthis Consent Decree                 $1,000 per day per violation




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    109.       Violations of any limit based on a 30-Day Rolling Average constitutes thirty (30)

days of violation but where such a violation (for the same pollutant and from the same Unit or

source) recurs within periods less than thirty (30) days, Settling Defendant shall not be obligated

to pay a daily stipulated penalty, for any day of the recurrence for which a stipulated penalty has

already been paid.

    110.       All stipulated penalties shall begin to accrue on the day after the performance is

due or on the day a violation occurs, whichever is applicable, and shall continue to accrue until

performance is satisfactorily completed or until the violation ceases, whichever is applicable.

Nothing in this Consent Decree shall prevent the simultaneous accrual of separate stipulated

penalties for separate violations of this Consent Decree.

    111.       Settling Defendant shall pay all stipulated penalties to the United States and

LDEQ within thirty (30) days of receipt of written demand to Settling Defendant from the United

States or LDEQ,and shall continue to make such payments every thirty (30) days thereafter until

the violations) no longer continues, unless Settling Defendant elects within twenty (20) days of

receipt of written demand to Settling Defendant from the United States or LDEQ to dispute the

accrual of stipulated penalties in accordance with the provisions in Section XV (Dispute

Resolution) of this Consent Decree.

    112.        Stipulated penalties shall continue to accrue as provided in accordance with

Paragraph 110 during any dispute, with interest on accrued stipulated penalties payable and

calculated at the rate established by the Secretary of the Treasury, pursuant to 28 U.S.C. § 1961,

but need not be paid until the following:




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         a.    If the dispute is resolved by agreement, or by a decision of Plaintiffs pursuant to

Section XV (Dispute Resolution) of this Consent Decree that is not appealed to the Court,

accrued stipulated penalties agreed or determined to be owing, together with accrued interest,

shall be paid within thirty (30) days ofthe effective date of the agreement or ofthe receipt of

Plaintiffs' decision;

         b.    If the dispute is appealed to the Court and Plaintiffs prevail in whole or in part,

Settling Defendant shall, within sixty (60)days of receipt ofthe Court's decision or order, pay all

accrued stipulated penalties determined by the Court to be owing, together with interest accrued

on such penalties determined by the Court to be owing, except as provided in Subparagraph c,

below;

         c.    If the Court's decision is appealed by any Party, Settling Defendant shall, within

fifteen(15) days of receipt ofthe final appellate court decision, pay all accrued stipulated

penalties determined to be owing, together with interest accrued on such stipulated penalties

determined to be owing by the appellate court.

Notwithstanding any other provision of this Consent Decree, either the United States or LDEQ,

or both, may in the unreviewable exercise oftheir respective discretion, reduce or waive

stipulated penalties otherwise due to that Party under this Consent Decree, and the accrued

stipulated penalties agreed by the Plaintiffs and Settling Defendant, or determined by the

Plaintiffs through Dispute Resolution, to be owing may be less than the stipulated penalty

amounts set forth in Paragraph 108. The United States and LDEQ shall divide equally any

stipulated penalties paid, agreed to, or awarded under this Consent Decree.




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    113.       All monetary stipulated penalties shall be paid in the manner set forth in Section

IX (Civil Penalty) of this Consent Decree. All allowance Surrender penalties shall comply with

the allowance Surrender procedures set forth in this Consent Decree.

    114.       Should Settling Defendant fail to pay stipulated penalties in compliance with the

terms ofthis Consent Decree, the United States and LDEQ shall be entitled to collect interest on

such penalties, as provided for in 28 U.S.C. § 1961.

    115.       The stipulated penalties provided for in this Consent Decree shall be in addition to

any other rights, remedies, or sanctions available to the United States and LDEQ by reason of

Settling Defendant's failure to comply with any requirement ofthis Consent Decree or

applicable law, except that for any violation of the Act for which this Consent Decree provides

for payment of a stipulated penalty, Settling Defendant shall be allowed a credit for stipulated

penalties paid against any statutory penalties also imposed for such violation.

    116.       Affirmative Defense as to Stipulated Penalties for Excess Emissions Occurring

During Malfunctions: If any ofthe Units at Big Cajun II exceed an applicable 30-Day Rolling

Average Emission Rate for NOX or S02 set forth in this Consent Decree due to Malfunction,

Settling Defendant, bearing the burden of proof, has an affirmative defense to, and shall not be

subject to, stipulated penalties under this Consent Decree, if Settling Defendant has complied

with the reporting requirements of Paragraphs 121 and 122 and has demonstrated all of the

following:

               a.      the excess emissions were caused by a sudden, unavoidable breakdown of

               technology, beyond Settling Defendant's control;




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      b.     the excess emissions(1) did not stem from any activity or event that could

      have been foreseen and avoided, or planned for, and (2)could not have been

      avoided by better operation and maintenance practices;

             to the maximum extent practicable, the air pollution control equipment

      and processes were maintained and operated in a manner consistent with good

      practice for minimizing emissions;

      d.     repairs were made in an expeditious fashion when Settling Defendant

      knew or should have known that an applicable 30-Day Rolling Average Emission

      Rate was being or would be exceeded. Off-shift labor and overtime must have

      been utilized, to the extent practicable, to ensure that such repairs were made as

      expeditiously as practicable;

             the amount and duration ofthe excess emissions (including any bypass)

      were minimized to the maximum extent practicable during periods of such

      emissions;

      f.     all reasonably possible steps were taken to minimize the impact of the

      excess emissions on ambient air quality;

      g.     all emission monitoring systems were kept in operation if at all possible;

      h.     Settling Defendant's actions in response to the excess emissions were

      documented by properly signed, contemporaneous operating logs, or other

      relevant evidence;

      i.     the excess emissions were not part of a recurring pattern indicative of

      inadequate design, operation, or maintenance; and



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                        Settling Defendant properly and promptly notified Plaintiffs as required by

                 this Consent Decree.

   117.          To assert an affirmative defense for Malfunction under Paragraph 116, Settling

Defendant shall submit all data demonstrating the actual emissions for the Day the Malfunction

occurs and the 29-Day period following the Day the Malfunction occurs. Settling Defendant

may, if it elects, submit emissions data for the same 30-Day period but that excludes the excess

emissions.

   118.          Affirmative Defense as to Stipulated Penalties for Excess Emissions Occurring

Durin Sg tartup and Shutdown: If any of the Units at Big Cajun II exceed an applicable 30-Day

Rolling Average Emission Rate for NOX or SOZ set forth in this Consent Decree due to startup or

shutdown, Settling Defendant, bearing the burden of proof, has an affirmative defense to, and

shall not be subject to, stipulated penalties under this Consent Decree, if Settling Defendant has

complied with the reporting requirements of Paragraphs 121 and 122 and has demonstrated all of

the following:

                 a.     the periods of excess emissions that occurred during startup and shutdown

                 were short and infrequent and could not have been prevented through careful

                 planning and design consistent with good engineering, operation, and

                 maintenance practices and manufacturers' specifications and recommendations;

                 b.     the excess emissions were not part of a recurring pattern indicative of

                 inadequate design, operation, or maintenance;




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               c.       if the excess emissions were caused by a bypass(an intentional diversion

               of control equipment), then the bypass was unavoidable to prevent loss of life,

               personal injury, or severe property damage;

               d.       at all time, the facility was operated in a manner consistent with good

               practice for minimizing emissions;

               e.       the frequency and duration of operation in startup or shutdown mode was

               minimized to the maximum extent practicable and consistent with good

               engineering, operation, and maintenance practices and manufacturers'

               specifications and recommendations;

              f.        all reasonably possible steps were taken to minimize the impact ofthe

              excess emissions on ambient air quality;

              g.        All emissions monitoring systems were kept in operation if at all possible;

              h.        Settling Defendant's actions during the period of excess emissions were

              documented by properly signed, contemporaneous operating logs, or other

              relevant evidence; and

              i.        Settling Defendant properly and promptly notified EPA as required by this

              Consent Decree

   119.            To assert an affirmative defense for startup or shutdown under Paragraph 118,

Settling Defendant shall submit all data demonstrating the actual emissions for the Day the

excess emissions from startup or shutdown occurs and the 29-Day period following the Day the

excess emissions from startup or shutdown occurs. Settling Defendant may, if it elects, submit

emissions data for the same 30-Day period but that excludes the excess emissions.



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    120.       If excess emissions occur due to a Malfunction during routine startup and

shutdown, then those instances shall be treated as other Malfunctions subject to Paragraph 116.

    121.       For an affirmative defense under Paragraphs 116 and 118, Settling Defendant,

bearing the burden of proof, shall demonstrate, through submission of the data and information

under the reporting provisions of this Section, that all reasonable and practicable measures within

Settling Defendant's control were implemented to prevent the occurrence of the excess

emissions.

    122.       Settling Defendant shall provide notice to EPA and LDEQ in writing of Settling

Defendant's intent to assert an affirmative defense for Malfunction, startup, or shutdown under

Paragraphs 116 and 122, in Settling Defendant's semi-annual progress reports as required by

Paragraph 103. This notice shall be submitted to EPA pursuant to the provisions of Section XIII

(Notices). The notice shall contain:

               a.     The identity of each stack or other emission point where the excess

               emissions occurred;

               b.     The magnitude ofthe excess emissions expressed in lb/mmBTU and the

               operating data and calculations used in determining the magnitude ofthe excess

               emissions;

                      The time and duration of the excess emissions;

               d.     The identity of the equipment from which the excess emissions emanated;

                      The nature and cause of the excess emissions;




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               £       The steps taken, if the excess emissions were the result of a Malfunction,

               to remedy the Malfunction and the steps taken or planned to prevent the

               recurrence of the Malfunction;

               g.      The steps that were or are being taken to limit the excess emissions; and

               h.      If applicable, a list of the steps taken to comply with permit conditions

    governing Unit operation during periods of startup, shutdown, and/or Malfunction.

    123.       A Malfunction, startup, or shutdown shall not constitute a Force Majeure Event

unless the Malfunction, startup, or shutdown meets the definition of a Force Majeure Event, as

provided in Section XIV (Force Majeure).

    124.       The affirmative defense provided herein is only an affirmative defense to

stipulated penalties for violations of this Consent Decree, and not a defense to any civil or

administrative action for injunctive relief.

                                    XIV. FORCE MAJEURE

    125.       For purposes ofthis Consent Decree, a "Force Majeure Event" shall mean an

event that has been or will be caused by circumstances beyond the control of Settling Defendant,

its contractors, or any entity controlled by Settling Defendant that delays compliance with any

provision of this Consent Decree or otherwise causes a violation of any provision ofthis Consent

Decree despite Settling Defendant's best efforts to fulfill the obligation. "Best efforts to fulfill

the obligation" include using best efforts to anticipate any potential Force Majeure Event and to

address the effects of any such event(a) as it is occurring and(b) after it has occurred, such that

the delay or violation and any adverse environmental effect is minimized to the greatest extent

possible.



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    126.        Notice of Force Majeure Events. If any event occurs or has occurred that may

delay compliance with or otherwise cause a violation of any obligation under this Consent

Decree, as to which Settling Defendant intends to assert a claim of Force Majeure, Settling

Defendant shall notify the Plaintiffs in writing as soon as practicable, but in no event later than

fourteen(14) business days following the date Settling Defendant first knew, or by the exercise

of due diligence should have known,that the event caused or may cause such delay or violation.

In this notice, Settling Defendant shall reference this Paragraph ofthis Consent Decree and

describe the anticipated length oftime that the delay or violation may persist, the cause or causes

of the delay or violation, all measures taken or to be taken by Settling Defendant to prevent or

minimize the delay or violation, the schedule by which Settling Defendant proposes to

implement those measures, and Settling Defendant's rationale for attributing a delay or violation

to a Force Majeure Event. Settling Defendant shall adopt all reasonable measures to avoid or

minimize such delays or violations. Settling Defendant shall be deemed to know of any

circumstance which Settling Defendant, its contractors, or any entity controlled by Settling

Defendant knew or should have known.

    127.        Failure to Give Notice. If Settling Defendant fails to comply with the notice

requirements of this Section, Plaintiffs may void Settling Defendant's claim for Force Majeure as

to the specific event for which Settling Defendant has failed to comply with such notice

requirement.

    128.       Plaintiffs' Response. Plaintiffs shall notify Settling Defendant in writing

regarding Settling Defendant's claim of Force Majeure as soon as reasonably practicable. If

Plaintiffs agree that a delay in performance has been or will be caused by a Force Majeure Event,

Plaintiffs and Settling Defendant shall stipulate to an extension of deadlines)for performance of


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the affected compliance requirements) by a period equal to the delay actually caused by the

event. In such circumstances, an appropriate modification shall be made pursuant to Section

XXII(Modification) ofthis Consent Decree.

    129.       Disagreement. If Plaintiffs do not accept Settling Defendant's claim of Force

Majeure, or if Plaintiffs and Settling Defendant cannot agree on the length ofthe delay actually

caused by the Force Majeure Event, the matter shall be resolved in accordance with Section XV

(Dispute Resolution) ofthis Consent Decree.

    130.       Burden of Proof. In any dispute regarding Force Majeure, Settling Defendant

shall bear the burden of proving that any delay in performance or any other violation of any

requirement ofthis Consent Decree was caused by or will be caused by a Force Majeure Event.

Settling Defendant shall also bear the burden of proving that Settling Defendant gave the notice

required by this Section and the burden of proving the anticipated duration and extent of any

delays) attributable to a Force Majeure Event. An extension of one compliance date based on a

particular event may, but will not necessarily, result in an extension of a subsequent compliance

date.

   131.        Events Excluded. Unanticipated or increased costs or expenses associated with

the performance of Settling Defendant's obligations under this Consent Decree shall not

constitute a Force Majeure Event.

   132.        Potential Force Majeure Events. The Parties agree that, depending upon the

circumstances related to an event and Settling Defendant's response to such circumstances, the

kinds of events listed below are among those that could qualify as Force Majeure Events within

the meaning ofthis Section: construction, labor, or equipment delays; Malfunction of a Unit or

emission control device; acts of God; acts of war or terrorism; and orders by a government


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official, government agency, other regulatory authority, or a regional transmission organization,

acting under and authorized by applicable law, that directs Settling Defendant to supply

electricity in response to a state-wide or regional emergency. Depending upon the circumstances

and Settling Defendant's response to such circumstances, failure of a permitting authority to

issue a necessary permit in a timely fashion may constitute a Force Majeure Event where the

failure of the permitting authority to act is beyond the control of Settling Defendant and Settling

Defendant has taken all steps available to it to obtain the necessary permit, including, but not

limited to: submitting a complete permit application; responding to requests for additional

information by the permitting authority in a timely fashion; and accepting lawful permit terms

and conditions after expeditiously exhausting any legal rights to appeal terms and conditions

imposed by the permitting authority.

    133.       As part of the resolution of any matter submitted to this Court under Section XV

(Dispute Resolution) of this Consent Decree regarding a claim of Force Majeure, the Plaintiffs

and Settling Defendant by agreement, or this Court by order, may in appropriate circumstances

extend or modify the schedule for completion of work under this Consent Decree to account for

the delay in the work that occurred as a result of any delay agreed to by the United States and the

States or approved by the Court. Settling Defendant shall be liable for stipulated penalties for its

failure thereafter to complete the work in accordance with the extended or modified schedule

(provided that Settling Defendant shall not be precluded from making a further claim of Force

Majeure with regard to meeting any such extended or modified schedule).
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                              XV.DISPUTE RESOLUTION

    134.       The dispute resolution procedure provided by this Section shall be available to

resolve all disputes arising under this Consent Decree, provided that the Party invoking such

procedure has first made a good faith attempt to resolve the matter with the other Party.

    135.       The dispute resolution procedure required herein shall be invoked by one Party

giving written notice to the other Party advising of a dispute pursuant to this Section. The notice

shall describe the nature ofthe dispute and shall state the noticing Party's position with regard to

such dispute. The Party receiving such a notice shall acknowledge receipt ofthe notice, and the

Parties in dispute shall expeditiously schedule a meeting to discuss the dispute informally not

later than fourteen(14)days following receipt of such notice unless otherwise agreed to by the

parties in writing.

    136.       Disputes submitted to dispute resolution under this Section shall, in the first

instance, be the subject of informal negotiations among the disputing Parties. Such period of

informal negotiations shall not extend beyond thirty (30)calendar days from the date ofthe first

meeting among the disputing Parties' representatives unless they agree in writing to shorten or

extend this period. During the informal negotiations period, the disputing Parties may also

submit their dispute to a mutually agreed upon alternative dispute resolution(ADR)forum if the

Parties agree that the ADR activities can be completed within the 30-day informal negotiations

period (or such longer period as the Parties may agree to in writing).

    137.       If the disputing Parties are unable to reach agreement during the informal

negotiation period, the Plaintiffs shall provide Settling Defendant with a written summary of

their position regarding the dispute. The written position provided by Plaintiff shall be

considered binding unless, within forty-five(45)calendar days thereafter, Settling Defendant


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seeks judicial resolution of the dispute by filing a petition with this Court. Plaintiffs may

respond to the petition within forty-five (45) calendar days of filing.

    138.       The time periods set out in this Section may be shortened or lengthened upon

motion to the Court of one of the Parties to the dispute, explaining the party's basis for seeking

such a scheduling modification.

    139.       This Court shall not draw any inferences nor establish any presumptions adverse

to any disputing Party as a result of invocation of this Section or the disputing Parties' inability

to reach agreement.

    140.       As part of the resolution of any dispute under this Section, in appropriate

circumstances the disputing Parties may agree, or this Court may order, an extension or

modification of the schedule for the completion of the activities required under this Consent

Decree to account for the delay that occurred as a result of dispute resolution. Settling

Defendant shall be liable for stipulated penalties for its failure thereafter to complete the work in

accordance with the extended or modified schedule, provided that Settling Defendant not be

precluded from asserting that a Force Majeure Event has caused or may cause a delay in

complying with the extended or modified schedule.

    141.       The Court shall decide all disputes pursuant to applicable principles of law for

resolving such disputes. In their initial filings with the Court, the disputing Parties shall state

their respective positions as to the applicable standard of law for resolving the particular dispute.




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                                      XVL PERMITS

    142.       Unless expressly stated otherwise in this Consent Decree, in any instance where

otherwise applicable law or this Consent Decree requires Settling Defendant to secure a permit to

authorize construction or operation of any device contemplated herein, including all

preconstruction, construction, and operating permits required under state law, Settling Defendant

shall make such application in a timely manner. Settling Defendant shall provide Notice to

Plaintiffs under Section XVIII (Notices), for each unit that the Settling Defendant submits an

application for any permit described in this Paragraph.

    143.       Notwithstanding the previous Paragraph, nothing in this Consent Decree shall be

construed to require Settling Defendant to apply for or obtain a PSD or Nonattainment NSR

permit for physical changes in, or changes in the method of operation of Big Cajun II that would

give rise to claims resolved by Section X (Resolution of Certain Civil Claims ofthe Plaintiffs) of

this Consent Decree.

    144.       When permits are required as described in this Section, Settling Defendant shall

complete and submit applications for such permits to the appropriate authorities to allow time for

all legally required processing and review of the permit request, including requests for additional

information by the permitting authorities. Any failure by Settling Defendant to submit a timely

permit application for Big Cajun II shall bar any use by Settling Defendant of Section XIV

(Force Majeure) ofthis Consent Decree, where a Force Majeure claim is based on permitting

delays.

    145.       Notwithstanding the reference to Title V permits in this Consent Decree, the

enforcement of such permits shall be in accordance with their own terms and the Act. The Title

V permits shall not be enforceable under this Consent Decree, although any term or limit


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established by or under this Consent Decree shall be enforceable under this Consent Decree

regardless of whether such term has or will become part of a Title V permit, subject to the terms

of Section XXVI(Conditional Termination of Enforcement Under Decree) of this Consent

Decree.

   146.        Within one hundred eighty (180) days after entry of this Consent Decree, Settling

Defendant shall amend any applicable Title V permit application, or apply for amendments of its

Title V permit, to include a schedule for all unit-specific and plant-specific performance,

operational, maintenance, and control technology requirements established by this Consent

Decree including, but not limited to, required emission rates, the Plant-Wide Annual Tonnage

Limitations, the requirement pertaining to the use and Surrender of SOZ and NOX Allowances,

and the requirements pertaining to Refueling Big Cajun II Unit 2 and Repowering, Refueling,

Retiring or Retrofitting Big Cajun II Unit 1.

    147.        Within one (1) year from the written election for Big Cajun II Unit 1 to be made

pursuant to Paragraph 63 of this Consent Decree, Settling Defendant shall either apply to

permanently include the requirements and limitations enumerated in this Consent Decree into a

federally enforceable permit or request asite-specific amendment to the Louisiana SIP, such that

the requirements and limitations become and remain "applicable requirements" as that term is

defined in 40 C.F.R. § 70.2. The permit shall require compliance with the following:(a) any

applicable Emission Rate,(b)the Plant-Wide Annual Tonnage Limitations for SOZ and NOX,(c)

the Allowance Surrender requirements set forth in this Consent Decree, and (d)the requirements

pertaining to Refueling Big Cajun II Unit 2 and Repowering, Refueling, Retiring or Retrofitting

Big Cajun II Unit 1.




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     148.       Settling Defendant shall provide the Plaintiffs with a copy of each application to

 amend its Title V permit for Big Cajun II, as well as a copy of any permit proposed as a result of

 such application, to allow for timely participation in any public comment opportunity.

     149.       Prior to conditional termination of enforcement through this Consent Decree,

 Settling Defendant shall obtain enforceable provisions in its Title V permit for Big Cajun II that

incorporates all Unit-specific, plant-specific, and system-specific performance, operational,

 maintenance, and control technology requirements established by this Consent Decree including,

 but not limited to,(a)Emission Rates,(b)Plant-Wide Annual Tonnage Limitations,(c)the

requirements pertaining to the Surrender of S02 and NOX Allowances, and (d)the requirements

 pertaining to Refueling Big Cajun II Unit 2 and Repowering, Refueling, Retiring or Retrofitting

Big Cajun II Unit 1.

    150.        If Settling Defendant sells or transfers to an entity unrelated to Settling Defendant

("Third Party Purchaser")part or all of its Ownership Interest in Big Cajun II, Settling Defendant

shall comply with the requirements of Section XIX (Sales or Transfers of Ownership Interests)

 with regard to that Unit prior to any such sale or transfer unless, following any such sale or

transfer, Settling Defendant remains the holder of the Title V permit for such facility.

                 XVII.INFORMATION COLLECTION AND RETENTION

    151.        Any authorized representative ofthe United States or LDEQ,including their

attorneys, contractors, and consultants, upon presentation of credentials, shall have a right of

entry upon the premises of Big Cajun II at any reasonable time for the purpose of:

        a.      monitoring the progress of activities required under this Consent Decree;

        b.      verifying any data or information submitted to the United States in accordance

 with the terms ofthis Consent Decree;

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               obtaining samples and, upon request, splits of any samples taken by Settling

Defendant or its representatives, contractors, or consultants; and

       d.      assessing Settling Defendant's compliance with this Consent Decree.

    151 A.     Settling Defendant shall retain, and instruct its contractors and agents to preserve,

all non-identical copies of all records and documents(including records and documents in

electronic form)now in its or its contractors' or agents' possession or control, and that directly

relate to Settling Defendant's performance of its obligations under this Consent Decree until

December 31, 2021. This record retention requirement shall apply regardless of any corporate

document retention policy to the contrary.

    152.       All information and documents submitted by Settling Defendant pursuant to this

Consent Decree shall be subject to any requests under applicable law providing public disclosure

of documents unless(a)the information and documents are subject to legal privileges or

protection or(b) Settling Defendant claims and substantiates in accordance with 40 C.F.R. Part 2

that the information and documents contain confidential business information.

    153.       Nothing in this Consent Decree shall limit the authority ofthe EPA or LDEQ to

conduct tests and inspections at Settling Defendant's facilities under Section 114 ofthe Act, 42

U.S.C. § 7414, or any other applicable federal or state laws, regulations or permits.




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                                    XVIII. NOTICES

   154.       Unless otherwise provided herein, whenever notifications, submissions, or

communications are required by this Consent Decree,they shall be made in writing and

addressed as follows:

   As to the United States of America:
   Chief, Environmental Enforcement Section
   Environment and Natural Resources Division
   U.S. Department of Justice
   P.O. Box 761 1, Ben Franklin Station
   Washington, D.C. 20044-7611
   DJ# 90-5-2-1-06837

   and

   Director, Air Enforcement Division
   Office of Enforcement and Compliance Assurance
   U.S. Environmental Protection Agency
   Ariel Rios Building [2242A]
   1200 Pennsylvania Avenue, N.W.
   Washington, DC 20460

   and

   Associate Director ofthe Air Enforcement Branch
   U.S. EPA- Region 6 (6EN-A)
   1445 Ross Avenue
   Dallas, TX 75202

   As to LDEQ
   Cheryl Nolan
   Administrator, Enforcement Division
   Assistant Secretary
   Louisiana Department of Environmental Quality
   P. O. Box 4312
   Baton Rouge, Louisiana 70821-4312

   And

   Dwana King
   Office of the Secretary, Legal Division
   Louisiana Department of Environmental Quality
   P.O. Box 4302
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    Baton Rouge, Louisiana, 70821-4302

    As to Louisiana Generating:

    Attn: General Counsel
    Louisiana Generating LLC
    112 Telly Street
    New Roads, LA 70760

   . ~

    William Bumpers
    Baker Botts L.L.P.
    The Warner
    1299 Pennsylvania Avenue, N.W.
    Washington, DC 20004


    155.       All notifications, communications or submissions made pursuant to this Section

shall be sent either key: (a) overnight mail or overnight delivery service, or(b) certified or

registered mail, return receipt requested. All notifications, communications and transmissions

(a) sent by overnight, certified or registered mail shall be deemed submitted on the date they are

postmarked, or(b) sent by overnight delivery service shall be deemed submitted on the date they

are delivered to the delivery service.

    156.       Any Party may change either the notice recipient or the address for providing

notices to it by serving all other Parties with a notice setting forth such new notice recipient or

address.




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               XIX. SALES OR TRANSFERS OF OWNERSHIP INTERESTS

    157.       If Settling Defendant proposes to sell or transfer an Ownership Interest to another

entity (a "Third Party Purchaser"), Settling Defendant shall advise the Third Party Purchaser in

writing of the existence ofthis Consent Decree prior to such sale or transfer, and shall send a

copy of such written notification to the Plaintiffs pursuant to Section XIII (Notices) of this

Consent Decree at least sixty (60)days before such proposed sale or transfer.

    158.       No sale or transfer of an Ownership Interest shall take place before the Third

Party Purchaser and Plaintiffs, have executed, and the Court has approved, a modification

pursuant to Section XXII(Modification) ofthis Consent Decree making the Third Party

Purchaser a party to this Consent Decree and jointly and severally liable with Settling Defendant

for all the requirements ofthis Decree that may be applicable to the transferred or purchased

Ownership Interests.

    159.        This Consent Decree shall not be construed to impede the transfer of any

Ownership Interests between Settling Defendant and any Third Party Purchaser so long as the

requirements ofthis Consent Decree are met. This Consent Decree shall not be construed to

prohibit a contractual allocation — as between Settling Defendant and any Third Party Purchaser

of Ownership Interests — ofthe burdens of compliance with this Decree, provided that both

Settling Defendant and such Third Party Purchaser shall remain jointly and severally liable to

Plaintiffs for the obligations of the Decree applicable to the transferred or purchased Ownership

Interests.

    160.       If Plaintiffs agree, Plaintiffs, Settling Defendant, and the Third Party Purchaser

that has become a party to this Consent Decree pursuant to Paragraph 158, may execute a

modification that relieves Settling Defendant of its liability under this Consent Decree for, and


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makes the Third Party Purchaser liable for, all obligations and liabilities applicable to the

purchased or transferred Ownership Interests. Notwithstanding the foregoing, however, Settling

Defendant may not assign, and may not be released from, any obligation under this Consent

Decree that is not specific to the purchased or transferred Ownership Interests, including the

obligations set forth in Sections VIII (Environmental Mitigation Projects) and IX (Civil Penalty).

Settling Defendant may propose and the Plaintiffs may agree to restrict the scope ofthe joint and

several liability of any purchaser or transferee for any obligations ofthis Consent Decree that are

not specific to the transferred or purchased Ownership Interests, to the extent such obligations

may be adequately separated in an enforceable manner.

                                    XX.EFFECTIVE DATE

    161.       The effective date ofthis Consent Decree shall be the Date of Entry.

                            XXI. RETENTION OF JURISDICTION

    162.       The Court shall retain jurisdiction ofthis case after entry ofthis Consent Decree

to enforce compliance with the terms and conditions ofthis Consent Decree and to take any

action necessary or appropriate for its interpretation, construction, execution, modification, or

adjudication of disputes. During the term of this Consent Decree, any Party to this Consent

Decree may apply to the Court for any relief necessary to construe or effectuate this Consent

Decree.




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                                       XXII. MODIFICATION

    163.        The terms of this Consent Decree may be modified only by a subsequent written

agreement signed by the Plaintiffs and Settling Defendant. Where the modification constitutes a

material change to any term ofthis Decree, it shall be effective only upon approval by the Court.

                                XXIII. GENERAL PROVISIONS

    164.        When this Consent Decree specifies that Settling Defendant shall achieve and

maintain a 30-Day Rolling Average Emission Rate, the Parties expressly recognize that

compliance with such 30-Day Rolling Average Emission Rate shall commence immediately

upon the date specified, and that compliance as of such specified date (e.g., December 30) shall

be determined based on data from the 29 prior Unit Operating Days (e.g., December 1-29).

    165.        This Consent Decree is not a permit. Compliance with the terms ofthis Consent

Decree does not guarantee compliance with all applicable federal, state, or local laws or

regulations. The emission rates set forth herein do not relieve the Settling Defendant from any

obligation to comply with other state and federal requirements under the Clean Air Act,

including the Settling Defendant's obligation to satisfy any state modeling requirements set forth

in the Louisiana State Implementation Plan.

    166.        This Consent Decree does not apply to any claims) of alleged criminal liability.

    167.       In any subsequent administrative or judicial action initiated by the Plaintiffs for

injunctive relief or civil penalties relating to the facilities covered by this Consent Decree, the

Settling Defendant shall not assert any defense or claim based upon principles of waiver, res

judicata, collateral estoppel, issue preclusion, claim preclusion, or claim splitting, or any other

defense based upon the contention that the claims raised by the Plaintiffs in the subsequent

proceeding were brought, or should have been brought, in the instant case; provided, however,


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that nothing in this Paragraph is intended to affect the validity of Section X (Resolution of

Certain Civil Claims of the United States).

    168.       Nothing in this Consent Decree shall relieve Settling Defendant of its obligation

to comply with all applicable federal, state, and local laws and regulations, including, but not

limited to, the Clean Water Act and the National Pollutant Discharge Elimination System

(NPDES)implementing regulations, National Ambient Air Quality Standards, the National

Emission Standards for Hazardous Air Pollutants From Coal and Oil-Fired Electric Utility Steam

Generating Units (Utility MACT), and Standards of Performance for Fossil-Fuel-Fired Electric

Utility, Industrial-commercial-Institutional, and Small Industrial Commercial-Institutional Steam

Generating Units (Utility NSPS). Nothing in this Consent Decree shall be construed to provide

any relief from the emission limits or deadlines for the installation of pollution controls or the

implementation of other pollution control-related measures specified in these regulations.

    169.        Subject to the provisions in Section X (Resolution of Certain Civil Claims),

nothing contained in this Consent Decree shall be construed to prevent or limit the rights of the

Plaintiffs to obtain penalties or injunctive relief under the Act or other federal, state, or local

statutes, regulations, or permits.

    170.        Nothing in this Consent Decree is intended to, or shall, alter or waive any

applicable law (including but not limited to any defenses, entitlements, challenges, or

clarifications related to the Credible Evidence Rule,62 Fed. Reg. 8314(Feb. 24, 1997))

concerning the use of data for any purpose under the Act.

    171.          Each limit and/or other requirement established by or under this Decree is a

separate, independent requirement.




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    172.        Performance standards, emissions limits, and other quantitative standards set by

or under this Consent Decree must be met to the number of significant digits in which the

standard or limit is expressed. For example, an Emission Rate of0.100 is not met if the actual

Emission Rate is 0.101. Settling Defendant shall round the fourth significant digit to the nearest

third significant digit, or the third significant digit to the nearest second significant digit,

depending upon whether the limit is expressed to three or two significant digits. For example, if

an actual Emission Rate is 0.1004, that shall be reported as 0.100, and shall be in compliance

with an Emission Rate of 0.100, and if an actual Emission Rate is 0.1005, that shall be reported

as 0.101, and shall not be in compliance with an Emission Rate of 0.100. Settling Defendant

shall report data to the number of significant digits in which the standard or limit is expressed.

    173.        This Consent Decree does not limit, enlarge or affect the rights of any Party to

this Consent Decree as against any third parties.

    174.        This Consent Decree constitutes the final, complete and exclusive agreement and

understanding among the Parties with respect to the settlement embodied in this Consent Decree,

and supersedes all prior agreements and understandings among the Parties related to the subject

matter herein. No document, representation, inducement, agreement, understanding, or promise

constitutes any part ofthis Decree or the settlement it represents, nor shall they be used in

construing the terms ofthis Consent Decree.

   175.         Each Party to this action shall bear its own costs and attorneys' fees.




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                               XXIV. SIGNATORIES AND SERVICE

    176.       Each undersigned representative of Settling Defendant and LDEQ,and the

Assistant Attorney General for the Environment and Natural Resources Division of the United

States Department of Justice, certifies that he or she is fully authorized to enter into the terms and

conditions of this Consent Decree and to execute and legally bind to this document the Party he

or she represents.

    177.       This Consent Decree may be signed in counterparts, and such counterpart

signature pages shall be given full force and effect.

                                   XXV.PUBLIC COMMENT

    178.       The Parties agree and acknowledge that final approval by the United States and

entry of this Consent Decree is subject to the procedures of 28 C.F.R. § 50.7, which provides for

notice of the lodging of this Consent Decree in the Federal Register, an opportunity for public

comment, and the right of the United States to withdraw or withhold consent if the comments

disclose facts or considerations which indicate that the Consent Decree is inappropriate,

improper or inadequate. The Defendant shall not oppose entry of this Consent Decree by this

Court or challenge any provision of this Consent Decree unless the United States has notified the

Defendant, in writing, that the United States no longer supports entry of the Consent Decree.

Further, the parties agree and acknowledge that final approval by the Louisiana Department of

Environmental Quality, and entry of this Consent Decree is subject to the requirements of La.

R.S. 30:2050.7, which provides for public notice of this Consent Decree in newspapers of

general circulation and the official journals of parishes in which the Louisiana Generating

facilities are located, an opportunity for public comment, consideration of any comments, and

concurrence by the State Attorney General. LDEQ reserves the right to withdraw or withhold


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consent if the comments regarding this Consent Decree disclose facts or considerations which

indicate that this Consent Decree is inappropriate, improper or inadequate.

                XXVI. CONDITIONAL TERMINATION UNDER DECREE

    179.       Termination as to Completed Tasks. As soon as Settling Defendant completes a

construction project or any other requirement of this Consent Decree that is not ongoing or

recurring, Settling Defendant may, by motion to this Court, seek termination ofthe provision or

provisions of this Consent Decree that imposed the requirement.

    180.       Conditional Termination of Enforcement Through the Consent Decree. After

Settling Defendant:

        a. has successfully completed construction, and has maintained operation, of all

pollution controls as required by this Consent Decree for at least one (1) year, and has Refueled

Big Cajun II Unit 2 and Retrofit, Retired, Repowered or Refueled Big Cajun II Unit 1; and

        b. has obtained all the final permits and/or site-specific SIP amendments(1) as required

by Section XVI(Permits) ofthis Consent Decree, and (2)that include as federally enforceable

permit terms, all Unit-specific, plant-specific, and system-specific performance, operational,

maintenance, and control technology requirements established by this Consent Decree;

then Settling Defendant may so certify these facts to the Plaintiffs and this Court. If the Plaintiffs

do not object in writing with specific reasons within forty-five (45) days of receipt of Settling

Defendant's certification, then, for any Consent Decree violations that occur after the filing of

notice, the Plaintiffs shall pursue enforcement ofthe requirements through the applicable permits

and/or other enforcement authorities and not through this Consent Decree.

    181.       Resort to Enforcement under this Consent Decree. Notwithstanding Paragraph

180, if enforcement of a provision in this Consent Decree cannot be pursued by the United States


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LLC Consent Decree

FOR THE UNITED STATES DEPARTMENT OF NSTICE


                                           Respectfully submitted,




                                                       r
                                                            s
                                          I ACIA S. MORENO
                                          Assistant Attorney General
                                          Environment and Natural Resources
                                           Division
                                          United States Department of Justice




                                          W. Benjamin Fisherow
                                          Chief
                                          Richard M. Gladstein
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                                          James A. Lofton
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FOR THE UNITED STATES DEPARTMENT OF NSTICE


                                           Respectfully submitted,

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                                          Jo    .Gaup , BN 4976
                                            s',tant U d States Attorney
                                              Florida Street, Suite 208
                                          Baton Rouge, Louisiana 70801
                                          Telephone:(225)389-0443




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FOR THE iJNITED STATES ENVIRONMENTAL PROTECTION AGENCY



                                                    illy submitted,



                                                     A GILES
                                                     Administrator
                                           Offi~.,df Enforcement and
                                             Compliance Assurance
                                           United States Environmental
                                             Protection Agency


                                                     a~.-
                                           S SAN SHINKMAN
                                           Director, Office of Civil Enforcement
                                           United States Environ~rnental




                                           Director, ~16r'~nforcement Division
                                           United States Environmental
                                             Protection Agency




                                           SEEMA KAKADE
                                           MELANIE SHEPHERDSON
                                           Attorney-Advisors
                                           United States Environmental
                                             Protection Agency
                                           1200 Pennsylvania Ave, N.W.(2242A)
                                           Washington, DC 20460



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FOR THE UNITED STATES ENVIRONMENTAL PROTECTION AGENCY



                                           Respectfully submitted,




                                          ~HN      BLEVINS
                                             erector, Compliance Assurance and
                                              Enforcement Division
                                           United States Environmental
                                             Protection Agency, Region 6




                                           ANDREA CAR~LLO
                                           Assistant Regional Counsel
                                           U.S. EPA,Region 6
                                           1445 Ross Avenue
                                           Dallas, Texas 75202




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LLC Consent Decree, subject to the public notice and comment requirements.


FOR THE LOUISIANA DEPARTMENT OF ENVIRONMENTAL QUALITY



                                           Respectfully submitted,




                                           Cheryl S. Nolan
                                           Assistant Secretary
                                           Office of Environmental Compliance
                                           Louisiana Department of Environmental Quality
                                           P.O. Box 4312
                                           Baton Rouge, Louisiana 70821-4312



                                                     ~—
                                           Dwana C. King(LA Bar oll# 20590)
                                           Attorney
                                           Office of the Secretary, Legal Division
                                           Louisiana Department of Environmental Quality
                                           P.O. Box 4302
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FOR LOUISIANA GENERATING LLC




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                                          .I.~uisiana Generating LLC
                                           112 Telly Street
                                          New Roads, LA 70760




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                                APPENDIX A
                     ENVIRONMENTAL MITIGATION PROJECTS

       In compliance with and in addition to the requirements in Section VIII (Environmental
Mitigation Projects) of the Consent Decree, LaGen shall comply with the requirements of this
Appendix to ensure that the benefits of the $10,500,000 in total Project Dollars are achieved.
LaGen shall spend no less than $9,000,000 on United States Environmental Mitigation Projects
and no less than $1,500,000 on State of Louisiana Environmental Mitigation Projects consistent
with the requirements of this Appendix. Nothing in the Consent Decree or in this Appendix shall
require LaGen to spend any more than a total of $10,500,000 on Environmental Mitigation
Projects.

           UNITED STATES ENVIRONMENTAL MITIGATION PROJECTS

I.     Land and Ecological Restoration ($1 million)

        A.     National Park Service Miti ag tion: Within 45 Days from the Date of Entry of this
Consent Decree, LaGen shall pay $500,000 to the National Park Service in accordance with 16
U.S.C. § 19jj for the restoration of land, watersheds, vegetation, and forests using techniques
designed to improve ecosystem health and mitigate harmful effects from air pollution. Projects
will focus on the Jean Lafitte National Historical Park and Preserve (southeast of Baton Rouge),
the Vicksburg National Military Park, and/or the Natchez Trace Parkway.

        B.     Payment of the amount specified in the preceding Paragraph shall be made to the
Natural Resources Damage and Assessment Fund managed by the United States Department of
the Interior. Instructions for transferring funds will be provided to LaGen by the National Park
Service. Notwithstanding Section I.A of this Appendix, payment of funds is not due until ten
(10) days after receipt of payment instructions. Upon payment of the required funds into the
Natural Resource Damage and Assessment Fund, LaGen shall have no further responsibilities
regarding the implementation of any project selected by the National Park Service in connection
with this provision.

       C.      United States Forest Service Mitigation: Within 45 Days from the Date of Entry
of this Consent Decree, LaGen shall pay $500,000 to the United States Forest Service in
accordance with 16 U.S.C. § 579c, for the improvement, protection, or rehabilitation of lands
under the administration of the United States Forest Service. Projects will focus on the Kisatchie
National Forest (northwest of Baton Rouge) or other United States Forest Service lands in the
surrounding region.

        D.      Payment of the amount specified in the preceding Paragraph shall be made to the
Forest Service pursuant to payment instructions provided to LaGen. Notwithstanding Section
I.0 of this Appendix, payment of funds by LaGen is not due until ten (10) days after receipt of
payment instructions. Upon payment of the required funds, LaGen shall have no further
responsibilities regarding the implementation of any project selected by the Forest Service in
connection with this provision.


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II.    Overall Schedule and Budget for Remaining United States Environmental
       Mitigation Proiects

        A.      Within 120 Days of the Date of Entry, as further described below, LaGen shall
submit proposed projects) plans)to EPA for review and approval pursuant to Section XII of the
Consent Decree (Review and Approval of Submittals) for completing the remaining $8,000,000
in United States Environmental Mitigation Projects over a period of not more than 5 years from
the date of plan approval. The Project Dollars shall be spent on projects chosen from Sections
III, IV, and V of this Appendix. LaGen also may elect to spend Project Dollars on projects
identified in Section VI of this Appendix. EPA reserves the right to disapprove any of the
Project plans should the Agency determine based on an analysis of the plans submitted by LaGen
and all the potential environmental impacts that the Project is not environmentally beneficial. If
LaGen opts not to perform one of the Projects, it will not have any obligations for such Project
pursuant to this Consent Decree, including performance, reporting, or closure requirements for
that Project, provided that LaGen is otherwise in compliance with the Environmental Mitigation
Project requirements of this Consent Decree. If LaGen subsequently opts not to perform a
Project for which it has submitted a plan that has been approved by EPA then it will indicate
withdrawal from the Project in its next semi-annual Environmental Mitigation Plan report
pursuant to Paragraph 97 of the Consent Decree.

        B.     LaGen may, at its election, consolidate the plans required by this Appendix into a
single plan.

       C.      The Parties agree that LaGen is entitled to spread its payments for Environmental
Mitigation Projects over the five-year period commencing upon the date of plan approval.
LaGen is not, however, precluded from accelerating payments to better effectuate a proposed
mitigation plan, provided that LaGen shall not be entitled to any reduction in the nominal amount
ofthe required payments by virtue of the early expenditures.

       D.      All proposed Project plans shall include the following:

               1.     A plan for implementing the Project;

               2.     A summary-level budget for the Project;

               3.     A time-line for implementation ofthe Project; and

               4.     A description of the anticipated environmental benefits of the Project
                      including an estimate of emission reductions (e.g., 502, NOX, PM, CO2)
                      expected to be realized.

       E.      Upon approval of the plans) required by this Appendix by EPA, LaGen shall
complete the approved Projects according to the approved plan(s). Nothing in this Consent
Decree shall be interpreted to prohibit LaGen from completing the Projects ahead of schedule.

       F.     Commencing with the first progress report due pursuant to Section XI (Periodic
Reporting) of the Consent Decree, and continuing biannually thereafter until completion of the
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Project(s), LaGen will include in the progress report information describing the progress of the
Project and the Project Dollars expended on the Project.

       G.      In accordance with the requirements of Paragraph 98 of the Consent Decree,
within 60 Days following the completion of each Project, LaGen shall submit to EPA for
approval of Project closure, a Project completion report that documents:

              1.      The date the Project was completed;

              2.      The results and documentation of implementation of the Project, including
                      the estimated emission reductions or other environmental benefits
                      achieved;

              3.      The Project Dollars incurred by LaGen in implementing the Project; and

              4.      Certification by a Responsible Official in accordance with Paragraph 105
                      of the Consent Decree that the Project has been completed in full
                      satisfaction ofthe requirements ofthe Consent Decree and this Appendix.

       H.      If EPA concludes based on the Project completion report or subsequent
information provided by LaGen that the Project has been performed and completed in
accordance with the Consent Decree, then EPA will approve completion of the Project for
purposes of the Consent Decree.

III.   Nitrogen Impact Mitigation in False River($1 million)

       A.      Within 120 days of the Date of Entry, LaGen shall submit a plan to EPA for
review and approval for the mitigation of adverse impacts on the False River associated with
nitrogen("False River Mitigation Project"). LaGen shall spend a total of $1 million in Project
Dollars on the False River Mitigation Project.

       B.     LaGen's proposed plan shall:

              1.      Describe proposed Projects) that reduce nitrogen loading in the False
                      River or otherwise mitigate the adverse effects of nitrogen in the False
                      River. Projects that may be approved include, by way of illustration,
                      creation of forested stream buffers on agricultural land or other land cover
                      to establish a "buffer zone" to filter runoff before it enters the waterway or
                      installation offencing to keep livestock out of the adjoining waterway.

              2.      Describe generally the expected environmental benefit of the proposed
                      False River Mitigation Project, including co-benefits that would result
                      from reducing nitrogen runoff such as reducing phosphorous runoff and
                      preventing algal blooms. The key criteria for selection of components of
                      the Project are the magnitude of the expected ecological/environmental
                      benefits) in relation to the cost and the relative permanence of the

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                       expected benefit(s). Expected loadings benefits should be quantified to
                       the extent practicable.

               3.      Describe the expected cost of each element of the False River Mitigation
                       Project, including the fair market value of any interests in land to be
                       acquired.

               4.      Identify any person or entity other than LaGen that will be involved in any
                       aspect of the False River Mitigation Project. LaGen shall describe the
                       third-party's role in the action and the basis for asserting that such entity is
                       able and suited to perform the intended role. For purposes of this Section
                       of the Appendix, third-parties shall only include non-profits; federal, state,
                       and local agencies; or universities. Any proposed third-party must be
                       legally authorized to perform the proposed action or to receive Project
                       Dollars.

               5.     Include a schedule for completing and funding each portion of the Project.

      C.      Performance: Upon approval of the plan for False River Mitigation by EPA,
LaGen shall complete the Project according to the approved plan and schedule.

IV.    Electric Vehicle Infrastructure Enhancement(Up to $4 million)

        A.      Within 120 days from the Date of Entry of this Consent Decree, LaGen shall
submit to EPA for review and approval pursuant to Section XII (Review and Approval of
Submittals) of this Consent Decree plan for the reduction of pollutants through the enhanced
                                      a
use of electric vehicles in South Louisiana. In its plan, LaGen shall propose enhancements to the
electric vehicle charging infrastructure in South Louisiana in an amount not to exceed $4 million
in Project Dollars to be expended within five years ofthe date of plan approval.

        B.     LaGen shall undertake enhancements to the electric vehicle charging
infrastructure by funding creation of one or more charging stations for electric vehicles in the
South Louisiana area. Battery powered and some hybrid vehicles need plug-in infrastructure to
recharge the batteries. Establishment of electric vehicle charging stations in South Louisiana
could expand the useful driving range of electric vehicles in the local metropolitan areas as well
as encourage South Louisiana drivers to purchase electric vehicles for local and commuting use.
Locations for such charging stations would be targeted for areas where vehicles could be left for
several hours to fully charge the electric vehicle's battery system.

        C.     In undertaking this Project, LaGen may partner with third party organizations to
handle funding and selection of locations in South Louisiana. Locations would be sought to
maximize the number of vehicles that could utilize the chargers while striving to expand into
South Louisiana the network of electric vehicle charging stations currently in the region.
Potential sites could consist of locations that provide public access, including parking lots at
mass transit facilities, large industrial facilities or similar employers, or other locations where
charging will encourage electric vehicle usage.

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        D.     Emission reductions: Overall emissions reductions would depend upon the
number of vehicles utilizing the facilities and would be based upon the type of vehicle the
electric vehicle replaces in the general geographic area, the emissions characteristics and the
annual vehicle miles traveled("VMT"). For the term of this project LaGen would commit to
effectively supply the vehicle charging station with zero emission renewable energy sources
through the use of renewable energy credits("RECs"). Therefore the usage would be considered
emission free. LaGen will report the expected and achieved environmental benefits.

        E.     Upon EPA's approval of the plan, LaGen shall complete the Projects described in
this Section according to the approved plan and schedule.

V.     Solar Photovoltaic(PV)Installation Proiects(Up to $6.5 million)

        A.     Within 120 days from the Date of Entry of this Consent Decree, LaGen shall
submit to EPA for review and approval pursuant to Section XII (Review and Approval of
Submittals) of this Consent Decree a plan for the reduction of pollutants through the installation
of photovoltaic panels and associated equipment consistent with the specifications listed below.
In its plan, LaGen shall propose Solar Photovoltaic("PV") Installations in an amount not to
exceed $6.5 million in Project Dollars to be expended within five years of the date of plan
approval.

        B.     LaGen shall describe in the plans submitted to EPA for review and approval, how
LaGen shall maintain the emissions avoided or reduced for the Projects it implements as part of
the Solar PV Projects.

        C.      The plan required to be submitted pursuant to this Section of this Appendix, shall
also satisfy the following criteria:

               1.     Describe how the proposed Projects in the plan are consistent with the
                      requirements of this Section and the Consent Decree, and how the Projects
                      will result in the emission reductions projected to be reduced pursuant to
                      this Section.

              2.      Include a budget and schedule for completing each Solar PV Project on a
                      phased schedule, and the supporting methodologies and calculations for
                      the budget.

              3.      Describe the methodology and include any calculations that LaGen
                      proposes to use in order to document the emission reductions associated
                      with any proposed Project to be implemented as part of this Section.

       D.      Upon EPA's approval of the plan, LaGen shall complete the Solar PV Project
according to the approved plan and schedule.

       E.     Solar Photovoltaic (PV) Installations: LaGen may install solar PV at local
schools, government-owned facilities, or facilities owned by nonprofit groups.

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       1.   A PV Project will, at a minimum, consist o£

            (a)    The installation of solar panels at a single location with
                   unobstructed solar access, an installed capacity of at least 10
                   kilowatts direct current, and annual generation which does not
                   exceed the three year historical annual average electricity
                   consumption ofthe building the project serves;

            (b)    An inverter, appropriately sized for the capacity of the solar panels
                   installed at the location;

            (c)    The appropriate solar panel mounting equipment for the particular
                   school, government-owned building, or building owned by
                   nonprofit groups selected, i.e., roof mount, carport mount or
                   ground mount;

            (d)    Wiring, conduit, and associated switchgear and metering
                   equipment required for interconnecting the solar generator to the
                   host building and equipment required by the local utility for net
                   metering; and

            (e)    Appropriate monitoring equipment supported by kiosk delivered
                   educational software to enable building occupants and/or staff to
                   monitor the total and hourly energy output of the system (kilowatt
                   hours), environmental benefits delivered (pounds COZ avoided),
                   hourly ambient temperature, irradiance (W/M2), as well as
                   accumulative annual irradiance and benefits delivered.

      2.    The PV Project will be connected to the customer side of the meter and
            ownership of the system will be conveyed to the building owner at the
            site;

      3.    All related environmental benefits will be retained by the system owner,
            including associated Renewable Energy Credits or Renewable Resource
            Credits (collectively RECs);

      4.    LaGen will include in its bid proposals the requirement that each PV
            System include a manufacturer parts warranty and a Project Service
            Contract, as described in Subsection IV.E.S, below;

      5.    The plan will also include the requirement for: (a) a manufacturer parts
            warranty for the solar panels installed for 25 years and inverters installed
            for 10 years; and (b) funding of an escrow account which will provide
            annual distributions adequate for the host building to contract operation
            and maintenance service for 25 years from the date of installation
            including but not limited to, annual system checkups and solar module

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            cleaning, and normal Project component replacements, including
            installation of new system components as needed to maintain the Project
            through the termination of the contract term. LaGen may propose to
            purchase the Project Service Contract for the benefit of the entity that
            owns the building where the PV Project is installed (Service Contract
            Beneficiary) and to have the option of funding the cost of the Project
            Service Contract by depositing funds in an escrow account for use by such
            Service Contract Beneficiary solely for purposes of maintaining the PV
            Systems through the termination of the contract term; and

      6.    In addition, LaGen's plan will:

            (a)    Include a schedule and budget for completing each phase of each
                   Solar PV Project including installation and funding of the Project
                   Service Contract for maintenance costs for 25 years following the
                   approval ofthe plan;

            (b)    Describe the process that LaGen will use to notify the school
                   districts, government buildings and not for profit building owners
                   that they are eligible to participate in the Solar PV Project and
                   solicit their participation in the Solar PV Project;

            (c)    Describe the process and criteria LaGen will use .to select the
                   schools, government buildings and/or not for profit buildings
                   where the systems will be installed, including base electricity
                   usage, solar access availability, and other relevant criteria;

            (d)    Identify any person or entity, other than LaGen, that will be
                   involved in the Solar PV Projects. This does not include
                   contractors or installers who would complete the siting analysis
                   and/or installation of the PV systems but does include any
                   proposed affiliate or third party who would have a coordination or
                   project management role in the Solar PV Project;

            (e)    Identify the expected capacity (kilowatts-dc) and energy output of
                   each system; and

           (~      Provide that LaGen shall biannually report the actual kilowatt-
                   hours generated each year in the progress report required by
                   Paragraph 97 ofthe Consent Decree.

      7.    In addition to the information required to be included in the report
            pursuant to Section I.G, above, LaGen shall include in that report the
            identity of the buildings where the PV systems are installed, the total
            capacity (kilowatts) of each system, components installed, total cost, and
            expected energy output and environmental benefits.

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              8.      Potential Projects: The following projects are examples of Solar PV
                      Projects contemplated under this Section V if implemented consistent with
                      the requirements set forth above.

                      (a)    Installation and implementation of a Solar PV Project at a school in
                             New Orleans serving aminority/low income population.

                      (b)    Installation and implementation of a Solar PV Project at a large
                             government-owned building in South Louisiana serving an
                             environmental justice community.

                      (c)    Implementation of green technology and use of Solar PV for
                             lighting of a bridge connecting environmental justice communities.

                     (d)     Implementation of solar technology at government-owned
                             buildings and parks in the New Roads community adjacent to the
                             Big Cajun II facility.

VI.    Additional United States Environmental Mitigation Protect(Up to $500,000)

       A.     LaGen may spend Project Dollars up to an amount not to exceed $500,000 on
Energy Efficiency Projects for the reduction or avoidance of criteria pollutants.

        B.    If LaGen elects to perform an Energy Efficiency Project, LaGen shall submit a
plan to EPA for review and approval pursuant to Section XII ofthe Consent Decree (Review and
Approval of Submittals). LaGen shall describe in the plan submitted to EPA how LaGen shall
achieve and maintain the emission reductions associated with the Energy Efficiency Projects.

        C.      The plan required to be submitted pursuant to this Section of this Appendix shall
also satisfy the following criteria:

              1.      Describe how the proposed Projects in the plan are consistent with the
                      requirements of this Section and the Consent Decree, and how the Projects
                      will result in the emission reductions projected to be reduced pursuant to
                      this Section.

              2.      Include a budget and schedule for completing the Energy Efficiency
                      Projects and the supporting methodologies and calculations for the budget.

              3.      Describe the methodology and include any calculations that LaGen
                      proposes to use in order to document the emission reductions associated
                      with any proposed Project to be implemented as part ofthis Section.

       E.      Upon EPA's approval of the plan, LaGen shall complete the projects according to
the plan and schedule.

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        F.     For purposes of this Section VI, Energy Efficiency Projects include but are not
limited to:

               1.     Voltage Optimization (Transmission Loss Reduction): LaGen may invest
                      in one or more Projects to improve the end-to-end efficiency of the power
                      delivery system through optimization of system voltages or other similar
                      approaches. An example project would deploy advanced metering and
                      control technology to provide real-time measurement and optimization of
                      system voltages to reduce transmission line losses, and reduce consumer
                      energy consumption. By optimizing distribution feeder voltages to the
                      lower portion of the American National Standards Institute service range,
                      energy savings are estimated to be 2-3% of the total energy delivered.

              2.      Residential Energy Efficiency: LaGen may provide "Extreme Energy
                      Makeovers" for communities of homes or residences located in Louisiana.
                      This Project would retrofit a community of residences, such as low-
                      income housing, with the most cost-effective energy-reduction packages
                      on actual homes and monitor the results, with a goal to achieve 25%
                      energy use reduction.

              3.      Commercial or Industrial Custom and Prescriptive Efficiency Assistance:
                      LaGen may provide incentives for commercial and/or industrial end-users
                      to invest in energy efficiency improvements to such systems as lighting,
                      heating and cooling, and other technologies            refrigeration, food

                                                                        (e.g.,
                      service, office equipment, etc.). LaGen may fund energy audits and expert
                      consulting services to collaborate with businesses to develop energy
                      efficiency improvement plans aimed at making commercial facilities




                                                                                             (e.g.,
                      schools, hospitals, office and government buildings, etc.) more energy
                      efficient.    LaGen may offer custom incentives for site specific
                      improvements resulting in calculated or directly measured energy and
                      demand reductions and will offer a menu of prescriptive incentives for
                      specified, pre-approved types of efficiency upgrades to commercial and/or
                      industrial building electric systems and equipment. Incentives will be
                      structured to help commercial businesses shorten payback periods and
                      move proposed projects to implementation.

        STATE OF LOUISIANA ENVIRONMENTAL MITIGATION PROJECTS

VII.   Mitigation Proiects to be Conducted by the State of Louisiana ($1.5 million)

       A.     LaGen shall fund environmental mitigation projects submitted by the State of
Louisiana consistent with the provisions of this Section VII. These projects are not subject to the
requirements set forth in Section II above.

       B.     The State of Louisiana shall submit to LaGen projects for funding in a total
amount not to exceed $1.5 million over the period of five (5) years following the Date of Entry
ofthis Consent Decree, beginning as early as July 1, 2013.
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        C.     LaGen shall pay the amounts designated by the State in accordance with the
projects submitted for funding within seventy-five(75) days after being notified in writing by the
State. LaGen shall not be required to pay more than $500,000 in a single calendar year unless
mutually agreed with the State.

        D.     The State agrees to use money funded by LaGen to implement projects that
pertain to energy efficiency, pollution reduction and/or pollution mitigation or restoration-related
activities. Such projects may include, but are not limited by, the following:

   1. Retrofitting land and marine vehicles                 automobiles, off-road and on-road




                                                      (e.g.,
      construction and other vehicles, trains, or ferries) and transportation terminals and ports,
      with pollution control devices, such as particulate matter traps, computer chip reflashing,
      and battery hybrid technology;
   2. Truck-stop and marine port electrification;
   3. Purchase and installation ofphoto-voltaic cells on buildings;
   4. Projects to conserve energy use in new and existing buildings, including appliance
      efficiency improvement projects, weatherization projects, and projects intended to meet
      EPA's Green Building guidelines and/or the Leadership in Energy and Environmental
      Design(LEED)Green Building Rating System;
   5. "Buy back" programs for dirty old motors               automobile, lawiunowers, landscape
                                                               (e.g.,
      equipment); and
   6. Programs to remove and/or replace oil-fired home heating equipment to allow use of
      ultra-low sulfur oil, and outdoor wood-fired boilers.




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